Case 2:17-cv-05114-MMB Document 133-6 Filed 08/17/20 Page 1 of 69




     EXHIBIT F – REDACTED
        Case 2:17-cv-05114-MMB Document 133-6 Filed 08/17/20 Page 2 of 69




                       UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA


ALEXANDRE PELLETIER, Individually
and On Behalf of All Others Similarly                 Civil Action No. 2:17-cv-05114-MMB
Situated,

Plaintiff,


v.

ENDO INTERNATIONAL PLC, RAJIV
KANISHKA LIYANAARACHCHIE
DE SILVA, SUKETU P. UPADHYAY, AND
PAUL V. CAMPANELLI,

Defendants.




                   EXPERT REPORT OF DOUGLAS J. SKINNER

                                    August 17, 2020




                                          1
       Case 2:17-cv-05114-MMB Document 133-6 Filed 08/17/20 Page 3 of 69




                                                    Table of Contents
I.     Qualifications, Compensation, and Materials Considered .................................................. 3
       A.         Qualifications .......................................................................................................... 3
       B.         Compensation .......................................................................................................... 4
       C.         Materials Considered ............................................................................................... 5
II.    Assignment .......................................................................................................................... 5
III.   Summary of Allegations ...................................................................................................... 5
IV.    Summary of Opinions ......................................................................................................... 7
V.     Background on Endo ......................................................................................................... 10
VI.    There is No Evidence That Certain Alleged Corrective Disclosures Negatively
       Impacted Endo’s Stock Price ............................................................................................ 11
       A.         Event Studies ......................................................................................................... 11
       B.         Select Alleged Corrective Disclosure: February 28, 2017−March 1, 2017 .......... 15
                  1.         February 28, 2017...................................................................................... 15
                  2.         February 28, 2017 – March 1, 2017 .......................................................... 26
VII.   Dr. Nye Does Not Provide a Methodology Capable of Measuring Class-Wide
       Damages in a Manner Consistent with Plaintiff’s Theory of Liability ............................. 28
       A.         Dr. Nye’s Proposed Damages Model .................................................................... 28
       B.         A Proposed Damages Methodology Must Reliably Measure Inflation ................ 30
       C.         Flaws in Dr. Nye’s Proposed Damages Approach ................................................ 31
                  1.         Dr. Nye Does Not Articulate a Class-Wide Damages Methodology
                             Capable of Measuring Damages Attributable to Plaintiff’s Theory
                             of Liability ................................................................................................. 31
                  2.         Dr. Nye Fails to Articulate a Damages Methodology Capable of
                             Isolating the Impact of Confounding Information .................................... 34
                  3.         The Price Decline Following the Materialization of a Risk
                             Necessarily Overstates Inflation Caused by Concealing that Risk
                             Earlier during the Proposed Class Period .................................................. 36
                  4.         Dr. Nye Fails to Explain How His Proposed Damages Approach
                             Would Take into Account the Time-Varying Nature of the Alleged
                             Inflation in Endo’s Stock Price ................................................................. 39
                  5.         Dr. Nye Fails to Demonstrate How His Damages Methodology Can
                             Be Applied Across Different Types of Investors ...................................... 43




                                                                    2
       Case 2:17-cv-05114-MMB Document 133-6 Filed 08/17/20 Page 4 of 69




I.     QUALIFICATIONS, COMPENSATION, AND MATERIALS CONSIDERED

          A. Qualifications

1.     I am Deputy Dean for Faculty and Eric J. Gleacher Distinguished Service Professor of
Accounting at the University of Chicago, Booth School of Business. I have been a tenured full
professor at the University of Chicago since 2005. Prior to my appointment at Booth, I was the
KPMG Professor of Accounting at the Ross School of Business, University of Michigan, where I
held tenured and tenure-track appointments from 1989 until 2005, and served as chair of the
accounting department.

2.     I hold a B. Econ. (First Class Honors in Accounting and Finance) from Macquarie
University in Sydney, Australia and a M.S. and Ph.D. (Applied Economics: Accounting and
Finance) from the University of Rochester. I have taught undergraduate upper-class students, full-
time and part-time MBA students, Executive MBA (“EMBA”) students, executives, consultants,
and Ph.D. students.    I have taught introductory financial accounting, intermediate financial
accounting, accounting for financial instruments, corporate financial reporting and analysis,
financial statement analysis, managerial (cost) accounting, corporate finance, investments,
valuation, and empirical methods in accounting research. Most recently, I have taught Corporate
Finance and Valuation, as well as Managerial Accounting, at the University of Chicago’s EMBA
program at campuses in Chicago, London, and Hong Kong.

3.     My teaching experience also includes teaching at international locations in Asia (Japan,
Korea, Hong Kong, Singapore) as well as in London and at the University of Melbourne, and so
includes experience with international accounting rules (IFRS) as well as U.S. generally accepted
accounting principles (“GAAP”).

4.     I am Senior Editor of the Journal of Accounting Research, one of the preeminent academic
accounting journals in the world. Before moving to Chicago, I was Co-Editor of the Journal of
Accounting and Economics, also one of the world’s top-tier academic accounting journals. I have
also served as editor of the Review of Accounting Studies, and for several terms on the editorial
board of The Accounting Review. I am a member of the American Accounting Association and the
American Finance Association. I frequently present my research at major accounting and finance
conferences and at prominent universities. I have supervised doctoral students who have accepted




                                                3
       Case 2:17-cv-05114-MMB Document 133-6 Filed 08/17/20 Page 5 of 69




faculty positions at major business schools around the world, including Stanford, Harvard,
Wharton, MIT, Columbia, Michigan, Yale, and Chicago.

5.     I have published research on a variety of topics in accounting, auditing, capital markets,
investments, and corporate finance, including how security prices respond to corporate disclosures
(including event studies of earnings disclosures); managers’ incentives to release or withhold their
private information about corporate earnings (known as earnings “guidance”); whether the so-
called earnings management practices of corporate managers can improve their firms’ valuation on
capital markets; how the economic incentives of various corporate claimants, such as shareholders
and debtholders, affect firms’ financial reporting, disclosure, and capital management decisions;
how accounting information is used in contracts between the various corporate stakeholders; and
the nature of corporate debt agreements.

6.     My research is published in top-tier accounting and finance journals, including The
Accounting Review, the Journal of Accounting and Economics, the Journal of Accounting
Research, the Journal of Business, the Journal of Finance, and the Journal of Financial Economics.
My research has been featured in articles in The Wall Street Journal, The New York Times, The
Financial Times, The Economist, and Business Week.

7.     I serve as an Independent Trustee and chair of the Audit Committee of Harbor Funds.

8.     A copy of my curriculum vitae, including my publications, is attached as Appendix A.

9.     A list of my previous expert work, including reports, depositions, and trial testimony, is
attached as Appendix B.

          B. Compensation

10.    I am being compensated at my standard billing rate of $850 per hour. I have been assisted
in this matter by staff of Cornerstone Research, who worked under my direction. I receive
compensation from Cornerstone Research based on its collected staff billings for its support of me
in this matter. Neither my compensation in this matter nor my compensation from Cornerstone
Research is in any way contingent or based on the content of my opinion or the outcome of this or
any other matter.




                                                 4
           Case 2:17-cv-05114-MMB Document 133-6 Filed 08/17/20 Page 6 of 69




              C. Materials Considered

11.        In preparing this report, I have relied upon my education and experience in accounting,
corporate finance, valuation, and investments; documents produced in this matter;1 publicly
available information, such as academic articles, analyst reports, and public press; and other
materials. Appendix C lists documents and other sources I have relied upon in forming my opinions
in this matter. My work in this matter is ongoing. I may refine or revise my opinions as further
information comes to light.

II.        ASSIGNMENT

12.        I have been retained by defense counsel for Endo International plc (“Endo” or “the
Company”) and Rajiv Kanishka Liyanaarachchie De Silva, Suketu P. Upadhyay, and Paul V.
Campanelli (collectively, the “Individual Defendants”) to evaluate whether Endo’s stock price was
impacted by the alleged corrective disclosures at the end of the proposed Class Period, on February
28, 2017 as well as over the two-day period, February 28 − March 1, 2017.2 Additionally, I have
been asked to review and respond to the expert report submitted by Dr. Zachary Nye dated June 26,
2020 (the “Nye Report”). Specifically, I have been asked to evaluate whether Dr. Nye has
articulated a methodology capable of reliably measuring class-wide damages in a manner consistent
with Plaintiff’s remaining theory of liability in this case.

III.       SUMMARY OF ALLEGATIONS

13.        Based on my review of the Amended Complaint filed on August 6, 2018 (the “Complaint”),
Plaintiff has alleged that Endo and certain individual defendants made false and misleading
statements and omissions concerning the Company’s alleged involvement in illegal price-fixing
schemes and concealed that a portion of its profits, described as “Inflated Profits” in the Complaint,
were generated “solely as a result of anticompetitive price increases.”3




1
    My review included the Deposition of Dr. Zachary Nye, July 27, 2020 (“Nye Deposition”).
2
    The proposed Class Period extends from March 2, 2015 to February 27, 2017 (“proposed Class Period”).
3
 Alexandre Pelletier, Individually and On Behalf of All Others Similarly Situated v. Endo International plc et al.,
Amended Complaint filed August 6, 2018 (“Complaint”), Glossary of Terms, p. vi., ¶ 4.




                                                          5
           Case 2:17-cv-05114-MMB Document 133-6 Filed 08/17/20 Page 7 of 69




14.        Specifically, Plaintiff has alleged that Endo made “at least three types of false and
misleading statements and omissions”4:

           •   Characterizing the U.S. generic pharmaceutical market as being “subject to ‘intense
               competition’ on price”;5

           •   Attributing the financial performance of its generic business segment to “sustainable
               business practices like corporate acquisitions and new products,”6 and allegedly failing
               to disclose that the “risky and unsustainable anticompetitive activity in generic drug
               markets materially contributed to the income from its generics segment […]”;7

           •   Explaining price increases on generic drugs and allegedly omitting to disclose that it
               “did not compete on price with other generic manufacturers […]” 8

15.        According to the Complaint, these alleged statements or omissions were misleading for two
“independent and separate” reasons:

           •   The statements allegedly failed to disclose that Endo was engaged in “risky and
               unsustainable anticompetitive activity” in generic drug markets, that such activity
               “materially” contributed to Endo’s generics segment income, and that Endo’s financial
               performance in the latter part of the proposed Class Period was “materially and
               negatively affected by Endo’s inability to further engage in anticompetitive activity”;9

           •   The statements allegedly failed to disclose that Endo was engaged in “an illegal
               agreement to fix prices, rig bids, and allocate markets for generic drugs” and thereby
               its generic segment profits were derived “in material part” from such illegal conduct.10

16.        Plaintiff has further alleged that Endo “concealed the numerous and related risks associated
with their false statements and omissions, including, but not limited to, the risks that:”11

           •   The alleged anticompetitive pricing scheme “was highly risky and not sustainable”;




4
    Complaint, ¶ 186.
5
    Complaint, ¶ 186.
6
    Complaint, ¶ 2.
7
    Complaint, ¶ 186.
8
    Complaint, ¶ 186.
9
    Complaint, ¶ 186.
10
     Complaint, ¶ 186.
11
     Compliant, ¶ 258.



                                                     6
       Case 2:17-cv-05114-MMB Document 133-6 Filed 08/17/20 Page 8 of 69




       •   The alleged “price increases and allocation of market share might appear to arise from
           collusive conduct, whether proven illegal or not,” and were increasing the risk of
           drawing governmental attention;
       •   Profits from Endo’s generics segment would be “significantly reduc[ed]” because of law
           enforcement scrutiny;
       •   Profits from Endo’s generics segment would suffer “a rapid and material decline” if the
           alleged anticompetitive scheme ceased, or if pricing pressure or competition increased
           as a result.
17.    Plaintiff alleges that the “truth” about the alleged misstatements was revealed through
corrective disclosures on (i) November 3, 2016 and (ii) February 28, 2017 through March 1, 2017.

IV.    SUMMARY OF OPINIONS

18.    Based on my analysis to date, as well as my skills, knowledge, experience, education, and
training, I have formed the following opinions.

19.    The alleged corrective disclosures on February 28, 2017 did not negatively impact Endo’s
stock price, for the following reasons:

       •   In an efficient market, prices quickly incorporate new information. Consequently, any
           impact of the alleged corrective disclosures as contained in Endo’s press release, Form
           8-K, and earnings call, all of which were publicly available before the start of trading
           on February 28, 2017, should have been impounded in Endo’s stock price by the end of
           that day.
       •   Endo’s stock price increased by 2.67% on February 28, 2017, from $13.29 at market
           close on February 27 to $13.65 at market close on February 28. Based on my event
           study analysis, there is no evidence of a statistically significant stock price decline on
           this day. Dr. Nye’s event study model generates the same result. In fact, under some
           models the abnormal return on February 28 is positive and statistically significant.
       •   The fact that there was no statistically significant stock price decline on this day is not
           surprising because analysts had discussed the pricing erosion in Endo’s U.S. generics
           base throughout 2016 and early 2017, and saw the financial results released by Endo on
           February 28, 2017 as largely consistent with information the Company had previously
           disclosed. Analysts viewed these results positively, as Endo beat analyst expectations.
           And while the full-year 2017 guidance Endo announced was generally seen as mixed or
           negative, it was consistent with analysts’ already reduced expectations and did not
           meaningfully alter their views about Endo. Furthermore, there was no positive, non-
           allegation related news that could have offset what would otherwise have been a
           statistically significant negative price impact on this date.
       •   Plaintiff claims that the impairment charge announced on February 28, 2017 was a
           recognition of the unraveling of Endo’s alleged anticompetitive pricing scheme.
           However, few analysts commented on the impairment charge and those who did viewed


                                                  7
Case 2:17-cv-05114-MMB Document 133-6 Filed 08/17/20 Page 9 of 69
Case 2:17-cv-05114-MMB Document 133-6 Filed 08/17/20 Page 10 of 69
           Case 2:17-cv-05114-MMB Document 133-6 Filed 08/17/20 Page 11 of 69




                have direct implications for how Endo’s stock price would have reacted to the alleged
                corrective disclosures had they been made earlier in the proposed Class Period.
           •    Plaintiff also alleges that Endo’s anticompetitive pricing behavior—and, by extension,
                its effects on Endo’s profitability—varied over the course of the proposed Class Period.
                For example, according to the Complaint, while some of the alleged price fixing
                occurred before the proposed Class Period, at least two out of thirteen generic products
                with alleged inflated profits (Butalbital/Acet/Caff and Phenobarbital Tablets) were
                subject to price increases after the beginning of that Period.22 The manner in which
                Endo’s allegedly inflated profits varied during the proposed Class Period, increasing
                through third-quarter 2015 and decreasing in each quarter thereafter, is clearly shown in
                the Complaint.23 Therefore, by Plaintiff’s own argument, inflation would have changed
                over time as different products generated “inflated profits” at different point in time, or
                as the extent of Endo’s alleged anticompetitive practices changed over time. Further,
                Dr. Nye fails to consider how the Par acquisition, which was partly financed through the
                issuance of what would allegedly have been inflated Endo shares, may have impacted
                the alleged inflation in Endo’s stock price, a complicated exercise in its own right.
           •    Dr. Nye fails to consider differences among the investment approaches and risk
                preferences of Endo investors, or how those investors’ investment decisions would have
                changed in the absence of the alleged misrepresentations. Consequently, Dr. Nye has
                not demonstrated that his proposed methodology can be applied on a class-wide basis.

V.         BACKGROUND ON ENDO

21.        Endo is an Ireland-domiciled generics and specialty pharmaceutical company with common
shares traded on the NASDAQ Global Market (“NASDAQ”) under ticker ENDP.24 During most
of the proposed Class Period, Endo operated three business segments: US Generic Pharmaceuticals,
US Branded Pharmaceuticals, and International Pharmaceuticals.25                        Endo acquired Par
Pharmaceutical Holdings, Inc. (“Par”), a generics manufacturer, on September 25, 2015.26




22
     Complaint, ¶¶ 116, 120.
23
     For example, see the chart presented in the Complaint, ¶ 85.
24
  Endo International plc, Form 10-K for fiscal year 2016, filed on March 1, 2017 (“Endo 2016 10-K”), p. 2. Endo’s
common shares also traded on the Toronto Stock Exchange during the proposed Class Period.
25
  Endo 2016 10-K, p. 2; Endo International plc, Form 10-K for fiscal 2015, filed on February 29, 2016 (“Endo 2015
10-K”), p. 2.
26
  Endo 2016 10-K, p. 2. Endo’s U.S. Generic Pharmaceuticals segment “was formed through a series of acquisitions
including Par, Generics International (US Parent), Inc. (formerly doing business as Qualitest Pharmaceuticals
(Qualitest)), Boca Pharmacal LLC (Boca) and DAVA Pharmaceuticals, Inc. (DAVA) […]”




                                                            10
           Case 2:17-cv-05114-MMB Document 133-6 Filed 08/17/20 Page 12 of 69




22.        Paul V. Campanelli was appointed as the Company’s President and CEO on September 23,
201627 and began “a comprehensive strategic review that resulted in a series of definitive actions,”
such as (i) streamlining Endo’s global supply chain and restructuring its pain franchise, including
the divestiture of BELBUCA,28 (ii) executing a corporate restructuring,29 and (iii) divesting non-
core as such as Litha Healthcare Group Limited (“Litha”).30 The goal of these actions was to allow
Endo “to focus on its core assets, drive margin expansion and de-lever over a period of time […]”31

23.        By the end of the proposed Class Period, U.S. Generics was Endo’s largest segment,
representing approximately 70% of its revenues (first-quarter 2017), 32 and consisted of “a portfolio
of over 250 generic prescription product families,”33 that included the U.S. Generics Base, Sterile
                                                                           34
Injectables, and New Launches and Alternative Dosages.                          The U.S. Generics Base was
“comprised of more than 200 solid oral-extended release, solid oral-immediate release and
pain/controlled substances products.”35

VI.        THERE IS NO EVIDENCE THAT CERTAIN ALLEGED CORRECTIVE
           DISCLOSURES NEGATIVELY IMPACTED ENDO’S STOCK PRICE

              A. Event Studies

24.         The goal of event studies is to use financial market data to isolate the economic impact of
a company-specific event, such as a press release or financial restatement, on securities prices. This




27
     Endo 2016 10-K, p. 21.
28
   “Endo Reports Fourth-Quarter And Full-Year 2016 Financial Results,” PRNewswire, February 28, 2017,
https://www.prnewswire.com/news-releases/endo-reports-fourth-quarter-and-full-year-2016-financial-results-
300414600 html, accessed on August 3, 2020 (“Endo Press Release, February 28, 2017”).
29
     Endo Press Release, February 28, 2017, p. 2.
30
     Endo Press Release, February 28, 2017, p. 2. Litha’s divestiture was announced on February 28, 2017.
31
     Endo Press Release, February 28, 2017, p. 2.
32
     Endo International plc, Form 10-Q for the Quarter Ended March 31, 2017, filed on May 9, 2017, p. 12.
33
     Endo 2016 10-K, p. 7.
34
     Endo 2016 10-K, p. 8.
35
     Endo 2016 10-K, p. 8.




                                                          11
        Case 2:17-cv-05114-MMB Document 133-6 Filed 08/17/20 Page 13 of 69




approach is well accepted in the literature.36 In an efficient market, event studies can be used to
measure the price impact (if any) of new public information.

25.      To assess whether a disclosure (the “event”) has a significant effect on stock prices, an event
study compares the actual stock return on the event date to an estimate of what that return would
have been absent the disclosure. To do this, the event study must account for other factors that
affect the returns of a particular security, such as overall market movements and industry news.
This is typically done by estimating the normal relationship between the security’s returns and
market and industry returns during an “estimation period,” which allows the researcher to compute
an “abnormal return” on the event date (which equals the stock’s actual return minus a “normal” or
“predicted” return that accounts for the effect of these other factors on that day). Once this is done,
the researcher performs a statistical analysis to assess whether this abnormal return is statistically
significant. 37

26.      Statistically significant abnormal returns during a given event window can be interpreted as
indicating significant changes in the total mix of public information regarding the company during
that event window. Abnormal returns that are not statistically significant cannot be reliably
attributed to any information regarding the company, as they cannot be distinguished from the
typical price fluctuations of the company in the absence of new information.

27.      Event study analysis is subject to certain limitations. First, an event study can only ever
measure the aggregate price impact of all of the new information revealed during the event window;


36
  For example, Campbell, J., Lo, A., and MacKinlay, A., “Event-Study Analysis,” The Econometrics of Financial
Markets, Princeton University Press, 1997 (“Campbell, Lo, and MacKinlay (1997)”), p. 149, states that “[t]he
usefulness of [event studies] comes from the fact that, given rationality in the marketplace, the effect of an event will
be reflected immediately in asset prices. Thus the event’s economic impact can be measured using asset prices observed
over a relatively short time period.”
37
  This involves computing a t-statistic, which is the ratio of the measured abnormal return to its standard error. In the
typical event study, the standard error is estimated based on the normal volatility of the abnormal returns computed
during the estimation period. A sufficiently large (in absolute value) t-statistic allows one to reject the null hypothesis
and conclude that the abnormal return is statistically significant. Detailed discussions of event study methodology can
be found in Campbell, Lo, and MacKinlay (1997), Chapter 4, and in Kothari, S.P. and Warner, J.B., “Econometrics of
Event Studies,” in Handbook of Corporate Finance: Empirical Corporate Finance Volume 1, B. Eckbo, 1st ed.,
Elsevier, 2007, pp. 5–36. The size of the t-statistic necessary to establish statistical significance depends on the degrees
of freedom (which is based on the number of observations used for estimation and the complexity of the model being
estimated) as well as the relevant “p-value” (confidence level) for the test. See, for example, Dielman, T.E., Applied
Regression Analysis, 4th ed., South-Western, 2005, pp. 80–84. Like Dr. Nye, I use a 95% confidence interval (5%
confidence level) to assess statistical significance in this report.




                                                            12
        Case 2:17-cv-05114-MMB Document 133-6 Filed 08/17/20 Page 14 of 69




it cannot reliably apportion this price impact to individual pieces of information disclosed during a
common window. Second, an event study measures the market reaction to the total mix of new
information when that information is actually released to the market; it cannot reliably measure the
price impact of that same information disclosed at a different time or under different circumstances,
or to evaluate the price reaction to different information.

28.      For my event study analyses in this matter, I used total (including dividends) returns on (1)
the NASDAQ Composite Index,38 to proxy for returns on the market portfolio, and (2) an industry
index, constructed from the set of publicly-traded companies that Endo lists as competitors in its
Form 10-K filings,39 to proxy for industry returns. To ensure my conclusions are robust to the
weighting approach, I estimated models that used both equal- and value-weighted versions of this
industry index. I report results for both approaches, with results based on the equal-weighted index




38
   The NASDAQ Composite Index “measures all NASDAQ domestic and international based common type stocks
listed      on     The      NASDAQ          Stock      Market.”            “NASDAQ           Composite,”     NASDAQ,
https://indexes nasdaqomx.com/Index/Overview/COMP, accessed on July 31, 2020. Endo was listed on the NASDAQ
Global Market throughout the proposed Class Period. Endo International plc, Form 10-K for fiscal year 2014, filed on
March 2, 2015 (“Endo 2014 10-K”), p. 3; Endo 2015 10-K, p. 3; Endo 2016 10-K, p. 3; Endo International plc, Form
10-K for fiscal year 2017, filed on February 27, 2018 (“Endo 2017 10-K”), p. 1. Specifically, I use the NASDAQ
Composite Total Return Index (“The total return index values include reinvestment of all cash distributions of index
members on the ex-date. The total return index value of each index is calculated daily and shows the price appreciation
or depreciation plus dividend yield of the component securities. It is equal to the previous day index value multiplied
by the ratio of current price return index value plus cash distributions value to the previous day closing price return
index value. The cash distribution value is determined by multiplying the value of each cash distribution on the ex-
date by the security’s index shares and dividing that value by the divisor of the price return index.” “NASDAQ Total
Returns,” NASDAQ, https://www nasdaq.com/market-activity/total-returns, accessed on July 31, 2020. I note that
using the S&P 500 Total Return Index instead of the NASDAQ Composite Index to adjust for market factors does not
change the conclusions of my price impact analysis. The S&P 500 index measures “the performance of the large-cap
segment of the market. Considered to be a proxy of the U.S. equity market, the index is composed of 500 constituent
companies.” The Total Return version of this index “reinvest[s] regular cash dividends at the close on the ex-date
without consideration for withholding taxes.” “S&P US Indices Methodology,” S&P Dow Jones Indices, May 2020,
https://us.spindices.com/documents/methodologies/methodology-sp-us-indices.pdf, accessed on July 31, 2020.
39
   Based on Endo’s 2014 – 2017 Form 10-K filings, I include the following companies in the industry index: Abbott
Laboratories, Actavis Pharmaceutical, Inc., Allergan, Horizon Pharma, Impax Laboratories, Inc. (currently Amneal
Pharmaceuticals), Jazz Pharmaceuticals, Johnson & Johnson, Mallinckrodt, Mylan, Pfizer, Shire, Teva
Pharmaceuticals, Bausch Health Companies (formerly Valeant Pharmaceuticals International). Endo 2014 10-K, p.
12; Endo 2015 10-K, pp. 11–12; Endo 2016 10-K, pp. 11–12; Endo 2017 10-K, p. 7.




                                                         13
        Case 2:17-cv-05114-MMB Document 133-6 Filed 08/17/20 Page 15 of 69




reported as primary results.40 I estimated abnormal log returns41 using “rolling” market model
regressions estimated over the 252-trading day period ending the trading day prior to February 28,
2017.42 I used indicator variables to remove days associated with alleged misrepresentations,
omissions, and corrective disclosures from the estimation period because, under Plaintiff’s
arguments, returns on those days may be distorted.43

29.      I also reviewed public press and analyst reports44 around the relevant days to determine if
there was any potentially confounding information that could have affected the stock price reaction
on these days, and to assess commentary by market participants. Specifically, I reviewed public
press articles from the trading day before February 28, 2017 through March 1, 2017, and analyst



40
   Because Endo is a specialized pharmaceutical company with a significant presence in generics, it is more appropriate
to use an index that includes its direct competitors than to use a broad-based index that tracks the sector as a whole
(though using a broad-based index such as the one Dr. Nye used does not change my conclusions, as discussed in this
section). Further, because Endo is smaller than many companies in the sector (e.g., in fiscal year 2016 Endo’s revenue
was $4.0 billion, much smaller than the median revenue of $11.1 billion for the competitors it lists in its Form 10-K for
that year), an equal-weighted industry index is more representative of the set of firms it includes, whereas a value-
weighted index can be dominated by a few very large companies. Endo 2016 10-K, p. 48. See work-paper 1. The use
of an equal-weighted index is supported by peer-reviewed academic literature. For example, Langetieg, T. C. (1978),
“An Application of a Three-Factor Performance Index to Measure Stockholder Gains from Merger,” Journal of
Financial Economics, 6(4), 365−383; Langetieg, T. C., Haugen, R. A., and Wichern, D. W. (1980) “Merger and
Stockholder Risk,” Journal of Financial and Quantitative Analysis, 15(3), 689−717; Collins, D.W., Rozeff, M.S., and
Dhaliwal, D.S. (1981) “The Economic Determinants of the Market Reaction to Proposed Mandatory Accounting
Changes in the Oil and Gas Industry, A Cross-Sectional Analysis,” Journal of Accounting and Economics, 3(1), 37−71.
My inferences are not significantly affected by the choice of an equal- or value-weighted index.
41
   Continuously compounded (log) returns are standard in the academic literature. See, e.g., Campbell, Lo, and
MacKinlay (1997), p. 11.
42
  For each event day, the estimation window is 252 trading days ending one trading day prior to that day. I find that
the conclusions of my price impact analysis do not change if I use an estimation period equal to 126 days prior to the
day of interest.
43
  In regression analysis, an indicator variable is a variable that takes the value 0 or 1 to indicate the absence or presence
of an effect that may be expected to impact the model parameter estimates. See, for example, Chatterjee, S. and
Simonoff, J.S., Handbook of Regression Analysis, John Wiley & Sons, Inc., 2013, (“Handbook of Regression Analysis
(2013)”), pp. 38–39. I used indicator variable for the following dates: March 2, 2015, March 3, 2015, May 11, 2015,
May 12, 2015, May 18, 2015, August 10, 2015, August 11, 2015, November 5, 2015, November 9, 2015, January 12,
2016, February 29, 2016, March 1, 2016, May 6, 2016, May 9, 2016, August 9, 2016, November 3, 2016, and November
8, 2016. The Complaint claims that Defendants were “motivated to make false statements and omissions to inflate the
price of Endo stock” and that the alleged corrective disclosures drove down Endo shares. Complaint, ¶¶ 82, 87, 237,
262, 265.
44
  For public press, I searched the Factiva database and Bloomberg Law for articles mentioning Endo in the full body
of text as well as select additional public press articles that were relevant to the allegations or other events on a given
day. For analyst reports, I considered analyst reports provided by counsel or included in Dr. Nye’s production, as well
as additional analyst reports purchased from S&P Capital IQ or Thomson Reuters.




                                                            14
          Case 2:17-cv-05114-MMB Document 133-6 Filed 08/17/20 Page 16 of 69




reports from the trading day before February 28, 2017 through five trading days after March 1,
2017.

30.        Based on the analyses described below, Endo’s stock price was not negatively impacted by
the alleged corrective disclosures on these dates.

              B. Select Alleged Corrective Disclosure: February 28, 2017−March 1, 2017

                    1.     February 28, 2017

31.        According to Plaintiff, “[o]n February 28, 2017, before the start of trading, Endo announced
its financial results for Q4 and full-year 2016 in a Form 8-K dated that day.”45 Plaintiff alleges that
the impairment charge announced on February 28, 2017 was “recognition” of the fact that Endo’s
alleged anticompetitive practices had collapsed, stating that “Defendants had to face the reality that
now that Endo was a target of law enforcement, and […] the Inflated Profits were never coming
back.”46 Furthermore, Plaintiff asserts that “because of continued pricing pressure due to the end
of the anticompetitive scheme, the Company anticipated making approximately $1 billion less in
2017 than in 2016[.]”47

                           (a)      Endo’s Stock Price Did Not Decline on February 28, 2017

32.        Endo reported fourth-quarter and full-year 2016 financial results before the market open on
February 28, 2017.48 Specifically, Endo issued a press release that reported its financial results and




45
     Complaint, ¶ 84.
46
     Complaint, ¶ 86.
47
     Complaint, ¶ 264.
48
   Endo’s press release contained detailed reporting and discussion of its results: (i) fourth-quarter 2016 revenues of
$1,242 million and full-year 2016 revenues of $4,010 million, (ii) $3.5 billion of “asset impairment charges in fourth-
quarter 2016 associated with the write-down of goodwill and intangible assets primarily related to the Company’s
Generics reporting unit,” (iii) fourth-quarter reported diluted GAAP loss of $14.96 per share and full-year 2016 $14.48
diluted GAAP loss per share, (iv) fourth-quarter adjusted diluted earnings per share of $1.77 (“EPS”) and full-year
2016 adjusted diluted EPS of $4.73. The Company also provided guidance for Fiscal Year 2017 including: (i) 2017
revenues expected to range from $3.45 billion to $3.60 billion and (ii) adjusted 2017 EBITDA expected to range from
$1.50 billion to $1.58 billion. Endo also announced the divestiture of Litha Healthcare Group for $100 million. Endo
Press Release, February 28, 2017.




                                                         15
           Case 2:17-cv-05114-MMB Document 133-6 Filed 08/17/20 Page 17 of 69




provided 2017 guidance at 5:30 AM ET, filed a Form 8-K at 6:59 AM ET, and held an earnings
call with analysts that began at 8:30 AM ET.49

33.        Plaintiff does not examine Endo’s stock price change on February 28, 2017. Rather,
Plaintiff claims that the release of this news, along with Endo’s Form 10-K filing on March 1,
2017—which, as I discuss in more detail below, does not provide any new, allegation-related
information—led to a two-day stock price decline between “the close of trading on February 27,
2017 and the close of trading on March 1, 2017[.]”50 However, if Endo’s stock traded in an efficient
market, as Dr. Nye claims,51 any impact of the February 28, 2017 press release and earnings call
should have been impounded in Endo’s stock price by the end of the trading day on February 28,
2017.

34.        Well-established academic literature shows that in efficient markets, prices incorporate
information within just a few minutes.52 This is especially true for events such as earnings
announcements, which typically occur on a regular schedule tied to filing deadlines required by the

49
  According to PRNewswire, the press release was made available at 5:30 AM ET, Endo Press Release, February 28,
2017. The Form 8-K time is based on the “Accepted” time reflected on SEC’s Edgar website. “Filing Detail,” SEC,
https://www.sec.gov/Archives/edgar/data/1593034/000159303417000005/0001593034-17-000005-index htm
accessed on July 13, 2020. The edited earnings call transcript is made available by Thomson Reuters
STREETEVENTS: “ENDP - Q4 2016 Endo International PLC Earnings Call,” Thomson Reuters STREETEVENTS,
February 28, 2017, 1:30 PM GMT (8:30 AM ET) (“Endo Earnings Call, February 28, 2017”).
50
     Complaint, ¶ 265.
51
     Nye Report, ¶ 6.
52
  Greene and Watts (1996) find that price adjusts rapidly over the first post-announcement half hour on both the NYSE
and NASDAQ exchanges. Greene, J. and Watts, S. (1996), “Price Discovery on the NYSE and the NASDAQ: The
Case of Overnight and Daytime News Releases,” Financial Management, 25(1), 19–42. “We examine the market
response to quarterly earnings announcements made during trading and non-trading hours on the NYSE and the
NASDAQ. For non-trading-hours announcements, the opening trade on the NYSE impounds most of the price
response, whereas for trading-hours announcements, the response is spread evenly over the first several post-
announcement trades. In contrast, the first post-announcement trade on the NASDAQ impounds most of the price
response regardless of announcement time. […] Thus, transaction time analysis indicates some differences in price
discovery; however, when clock time is considered, price adjusts rapidly over the first post-announcement half hour
for both types of announcements on both exchanges.” Multiple other research papers show that stock prices react to
news rapidly. For example, Barclay and Litzenberger (1988) examine intraday stock price reactions in response to
announcements of new equity issuances. Barclay, M. and Litzenberger, R. (1988), “Announcement Effects of New
Equity Issues and the Use of Intraday Price Data,” Journal of Financial Economics, 21(1), 71–99. The authors find
that during the 15-minute window following the announcement of a new equity issuance, the stock price of the issuing
company drops by an average of 1.3%. Busse and Greene (2002) examine the intraday response times of stock prices
to company-relevant news featured on a financial news channel. Busse, J. and Green, T. (2002), “Market Efficiency
in Real Time,” Journal of Financial Economics, 65(3), 415–437 at p. 435. The authors find that, with rapid
dissemination of information and fast, low-cost trade execution, stock prices begin responding within seconds of the
company-relevant news appearing on the news channel, and fully respond within a few minutes of the coverage.




                                                         16
Case 2:17-cv-05114-MMB Document 133-6 Filed 08/17/20 Page 18 of 69
          Case 2:17-cv-05114-MMB Document 133-6 Filed 08/17/20 Page 19 of 69




                                                                     60
                                                                          As discussed in VI.B.2 below, I did not
find that Endo’s March 1, 2017 Form 10-K disclosures provided any meaningful new allegation-
related information; similarly, I did not find that analyst reports issued on March 1, 2017 provided
any meaningfully different allegation-related commentary from those issued on February 28, 2017.
Hence, I examine Endo’s stock price movement on February 28, 2017 to assess whether the alleged
corrective information released in Endo’s Form 8-K, press release, and earnings call, all of which
were released before the market open on February 28, 2017, impacted Endo’s stock price.61

36.        If one accepts Plaintiff’s contention that Endo’s February 28, 2017 disclosures made
“[i]nvestors, news media and analysts, finally aware of the true financial condition and value of
Endo’s generic business” and “effectively g[i]ve up on Endo for the foreseeable future,”62 then
February 28, 2017 should be associated with a statistically significant decrease in the price of Endo
common stock. However, to the contrary, Endo’s stock price actually increased that day, from




59
     Nye Deposition, 9: 17–23; 36:21−37:5.
60
     Nye Deposition, 34:8−35:15.
61
   The use of a single event day in event studies is well established in the academic literature and has been for many
years. Nobel laureate Eugene Fama observes “[w]hen the announcement of an event can be dated to the day, daily data
allow precise measurement of the speed of price response—the central issue for market efficiency […] The typical
result in event studies on daily data is that, on average, stock prices seem to adjust within a day to event announcements.
This result is so common that this work now devotes little space to market efficiency.” Fama, E. (1991), “Efficient
Capital Markets: II,” The Journal of Finance, 46(5), 1575−1617, p. 1601. Note that this was written nearly 30 years
ago. Because we can now identify not only the date but also the time when news becomes publicly available, it is even
more strongly evident that the appropriate event window is a single trading day. Campbell, Lo, and MacKinlay also
take a one-day announcement period. Shorter windows allow for more powerful tests because they reduce the
possibility that confounding information affects the stock price during the event window. Campbell, Lo, and
MacKinlay (1997), p. 151.
62
     Complaint, ¶ 266.




                                                           18
          Case 2:17-cv-05114-MMB Document 133-6 Filed 08/17/20 Page 20 of 69




$13.29 at market close on February 27, 2017 to $13.65 at market close on February 28, 2017. 63
Furthermore, based on my event study, Endo’s abnormal return on February 28, 2017 was positive
(8.02%) and statistically significant at the 5% level, suggesting that the information disclosed on
February 28, 2017 had a positive impact on Endo’s stock price.64 The abnormal return is not
statistically significant under Dr. Nye’s model and is either insignificant or positive and statistically
significant under the alternative models that I estimated.65,66 Consequently, there is no evidence
that Endo’s stock price was negatively impacted by the purportedly corrective disclosures on
February 28, 2017.

                            (b)       Analysts Viewed Endo’s Financial Results Released on February
                                      28, 2017 As Largely Consistent with Information Previously
                                      Disclosed to the Market

37.        The fact that there was no statistically significant stock price decline on February 28, 2017
is not surprising in light of market commentary both before and on this date. In particular,
contemporaneous analyst commentary indicates that qualitative aspects of Endo’s financial results
as conveyed by the alleged corrective disclosures were not considered by analysts to be surprising
or new, and that the earnings news and guidance updates were either not surprising or viewed


63
     Endo Stock Prices are obtained from Refinitiv Thomson Reuters Eikon.
64
   Some analysts commented on the positive stock price response on February 28, and saw it as consistent with their
assessment of the news announced by the Company that day, as detailed below in Section VI.B.1 (b).
65
   Dr. Nye describes his event study methodology in Appendix A of his report and reports his event study analyses in
Exhibits 11A, 11B, and 12. Dr. Nye estimates a rolling regression and reports abnormal returns (with t-statistics) for
each trading day from the beginning of the proposed Class Period (March 2, 2015) through the end of the proposed
Class Period (February 27, 2017), including eight impact dates on which Endo released quarterly or annual earnings.
According to Dr. Nye’s report, the impact date is “the first trading day on which the information disclosed could have
impacted the market price.” The “control period” for each of these event dates is the calendar year immediately
preceding the impact date, excluding any impact dates during the control period. In his regression model, Dr. Nye uses
the S&P 500 and the NASDAQ Biotechnology Index to account for market and industry factors, respectively. (Nye
Report, Appendix A, ¶¶ 66, 67) Note that Dr. Nye does not remove Endo from the industry index, as he should. See,
Langetieg, T. (1978), “An Application of a Three-Factor Performance Index to Measure Stockholder Gains from
Merger,” Journal of Financial Economics, 6, 365−383; Langetieg, T., Haugen, R., and Wichern, D. (1980), “Merger
and Stockholder Risk,” The Journal of Financial and Quantitative Analysis, 15(3), 1980, 689−717. I repeated Dr.
Nye’s analysis by extending his rolling regression model to estimate the abnormal return on February 28, 2017. When
I do so, I find that, under Dr. Nye’s regression specification, the abnormal return is positive (3.18%) but not statistically
significant. Dr. Nye’s Backup Materials.
66
   I estimated specifications that used the S&P 500 in place of the NASDAQ Composite to proxy for the market
portfolio, that use value-weighted versions of the industry index described earlier (see ¶ 28), and that use estimation
windows of different lengths (126 and 252 trading days). My conclusion that there is not a negative and statistically
significant return on this date is robust to all of these different model specifications.




                                                            19
        Case 2:17-cv-05114-MMB Document 133-6 Filed 08/17/20 Page 21 of 69




positively. Endo had previously disclosed—months earlier—that it was experiencing (and would
continue to experience) pricing pressures and an expected erosion of its U.S. generics business, that
such erosion could result in impairment charges, and that these negative trends would likely extend
into 2017. 67 I understand that Plaintiff has not alleged that those disclosures were corrective of any
previously concealed information.

38.     As explained below, many analysts had already incorporated these adverse trends into their
forecasts, and the fourth-quarter 2016 and full year 2016 results announced on February 28, 2017
were in fact viewed positively, as Endo beat analyst expectations. The Company’s announced
guidance for 2017 was generally seen as mixed or negative news but did not meaningfully alter
analysts’ outlook or views about the Company.

39.     In fact, the price erosion in Endo’s generics base was part of a continued trend that had
begun in late 2015, and price erosion due to pricing and competitive pressures was discussed in
Endo’s earnings release throughout 2016 and commented on by almost all analysts.68 As Dr. Nye
documents in his Exhibit 12, as early as May 6, 2016, JP Morgan observed that “Endo attributed
the ~30% decline in the legacy Qualitest business to declining price and volumes on a mix of
incremental competition to a number of key products as well as a more a challenging consortium




67
  “4Q Wrap-Up: Modest Sales Beat, But Lowering Ests on Pessimistic ’17 Guide,” Leerink, February 28, 2017, p. 1;
“2017 a transition year,” Deutsche Bank, March 2, 2017, p. 1; “Specialty Pharma / Generics: 4Q16 Wrap Up:
Challenging Environment Persists; MYL, AKRX Remain Best Positioned,” JP Morgan, March 2, 2017, p. 1.
68
  For example, Dr. Nye himself includes (in his Exhibit 12) Endo’s statement from as early as February 29, 2016 that
describes increased pricing pressure in its generic business: “Compared to previous 2015 expectations, fourth quarter
revenues in U.S. Generic Pharmaceuticals were unfavorably impacted by increased pricing pressure due to increased
competition across pain and commoditized products within legacy Qualitest and certain non-recurring charges.” Nye
Report, Exhibit 12, p. 110 and “Endo Reports Fourth Quarter And Full Year 2015 Financial Results,” PR Newswire,
February 29, 2016, 6:30 AM, https://www.prnewswire.com/news-releases/endo-reports-fourth-quarter-and-full-year-
2015-financial-results-300227474 html, accessed on August 6, 2020. On May 5, 2016, Endo indicated that, in its
generics segment, “the base business erosion continued into the first quarter and was significantly deeper than we
expected at approximately 30%. This was driven by continued pricing and competitive pressures on our commoditized
and pain products.” The edited earnings call transcript is made available by Thomson Reuters STREETEVENTS:
“ENDP – Q1 2016 Endo International PLC Earnings Call,” Thomson Reuters STREET EVENTS, Edited Transcript,
May 5, 2016, p. 3.




                                                         20
           Case 2:17-cv-05114-MMB Document 133-6 Filed 08/17/20 Page 22 of 69




bidding cycle.”69 Endo’s second-quarter earnings press release in August 2016 also discussed the
continued erosion in the generics base.70

40.        Indeed, throughout 2016, and consistent with the challenges Endo faced in its own generics
business, analysts’ view of the U.S. generics market as a whole became more pessimistic due to a
number of broad industry trends, including customer consolidation, price erosion, and high debt
loads. For example, following the Bloomberg article on November 3, 2016, Morningstar Equity
Research noted that “[w]e’re skeptical that this would dramatically change competitive dynamics
in the industry, especially as customer consolidations and the U.S. Food and Drug Administration
working through its backlog of generic drug applications already represent significant competitive
challenges for the industry. Regardless, it’s more bad news for the generic drug industry, which
has already been battered from price erosion, increased competition, and concerns regarding high
debt loads.”71 Deutsche Bank stated that the “intense sell-off of many generic stocks large and
small suggests that investors are ‘selling first and asking questions later,’” and noted further that
“there is currently limited investor interest in increasing exposure to healthcare stocks [.]”72

41.        Consistent with this sentiment, when Endo released its third-quarter 2016 financial results
on November 8, 2016 and stated that it “expect[ed] full year base business decline to be in the low
[30s] percentage range,”73 analysts commented on the erosion in Endo’s generics base. As an
example, Morgan Stanley stated that “[d]espite reiterated 2016 guidance, management provided
cautious commentary on [generics] pricing heading into 2017,”74 and Deutsche Bank stated that
“[w]hile ENDP reported decent 3Q results and maintained its 2016 revenue and EPS targets, the



69
     Nye Report, Exhibit 12, p. 160.
70
  For example, see “2Q Beats Lowered Expectations, 3Q Guided Down,” BMO, August 9, 2016; “Endo Reports Second
Quarter 2016 Financial Results,” PRNewswire, August 8, 2016, https://www.prnewswire.com/news-releases/endo-
reports-second-quarter-2016-financial-results-300310706.html, accessed on August 13, 2020.
71
 “Media Reports Suggest Generic Drug Manufacturers Could Face Collusion Charges,” Morningstar Equity Research,
November 4, 2016, p. 1. Emphasis added.
72
     “Initial thoughts on generics news,” Deutsche Bank, November 4, 2016, p. 1.
73
  Endo discussed that “the US generics competitive landscape and pricing pressures continue to be challenging. Deeper
than expected base erosion trends that we see and saw in the third quarter indicate stronger headwinds on the front as
we exit the year.” “ENDP - Q3 2016 Endo International PLC Earnings Call,” Thomson Reuters STREETEVENTS,
Edited Transcript, November 8, 2016 (“Endo Earnings Call, November 8, 2016”), pp. 3, 5.
74
     “Reducing estimates on Gx pricing pressure,” Morgan Stanley, November 9, 2016, p. 1.




                                                          21
           Case 2:17-cv-05114-MMB Document 133-6 Filed 08/17/20 Page 23 of 69




company’s base generics business faced greater than expected headwinds during the quarter (driven
by pricing pressure and competitive intensity), which management believes could flow into
2017.”75

42.        On January 9, 2017, during the JP Morgan Healthcare Conference, Endo disclosed that it
expected continued decline in its U.S. generics business. Specifically, JP Morgan noted that “Endo
expects the base business pricing environment it saw in 3Q to remain challenging and potentially
continue into 2017 (30% y/y declines), with buying consortium pressure remaining a swing
factor.”76 Barclays further highlighted that “[g]eneric pricing pressure continues to be an issue.
With the consolidation of consortiums, agreements may need to be revisited.”77

43.          This ongoing discussion throughout 2016 and early 2017 rendered Endo’s fourth-quarter
2016 and full-year 2016 financial results, as well as its 2017 guidance, largely unsurprising to
analysts. Indeed, analysts had already updated their expectations to reflect a more pessimistic
outlook for the generics business prior to February 28, 2017, and viewed Endo’s fourth-quarter
2016 and full-year 2016 financial results as stronger than expected (relative to these lowered
expectations). For example, Leerink commented that “ENDP reported 4Q sales which beat our
forecast by 6% outperforming our expectations for the generic business […] Generics biz erosion
is consistent with outlook provided earlier in the year.”78 Of the 15 analyst reports that were issued
in response to Endo’s February 28, 2017 results and were available to me, all 15 reported that
Endo’s actual (adjusted) EPS exceeded their forecasts.79 Moreover, all of these analysts kept their
recommendations (Buy, Hold, Market Perform, etc.) unchanged.




75
     “Lowering estimates and PT to $25,” Deutsche Bank, November 8, 2016, p. 1.
76
     “J.P. Morgan Conference Takeaways - ALERT,” JP Morgan, January 9, 2017, p. 1.
77
     “Quick Takeaways after the Conference Presentation,” Barclays, January 10, 2017, p. 2.
78
 “4Q Wrap-Up: Modest Sales beat, But Lowering Ests on Pessimistic ’17 Guide,” Leerink, February 28, 2017, p. 1.
Emphasis added.
79
  The average fourth-quarter 2016 adjusted EPS surprise for this group was 10.5% (average percentage by which
actual exceeded the forecast). See work-paper 2. In addition, Endo’s reported adjusted EPS exceeded the
Institutional Brokers Estimate System from Refinitiv Thomson Reuters Eikon (“I/B/E/S”) consensus for the quarter.
Three additional reports did not provide a prior estimate.




                                                          22
          Case 2:17-cv-05114-MMB Document 133-6 Filed 08/17/20 Page 24 of 69




44.        Analysts similarly viewed Endo’s 2017 guidance announced on February 28, 201780 as
consistent with their already-reduced expectations. For example:

           •   JP Morgan stated that “Endo reported stronger-than-expected 4Q results on both top line
               (generic launches) and EPS (+$0.15 vs. consensus) while providing mixed 2017
               guidance (revenue/EPS below but adj. EBITDA roughly in line). Overall, today’s
               update confirms a still challenging environment for ENDP […]”81
           •   Goldman Sachs commented that “[t]he shares responded positively (+3%, S&P flat) to
               4Q upside and 2017 guidance that brought a number of moving parts, but may have
               provided enough to ease concerns of significant downside EBITDA risk to already
               reduced 2017 expectations. Specifically, despite an 8% shortfall in 2017 revenue
               guidance versus consensus, a surprisingly strong gross margin outlook — on product
               mix and cost initiatives — yielded a 2017 EBITDA forecast generally in-line with
               consensus (adjusting for the Lithia sale). Across the segments, the base Generic update
               was also largely as expected — low 30% yoy decline in-line with early January
               commentary [sic].”82
           •   Bank of America stated that “investor expectations had been reset to some extent ahead
               of the issuance of ENDP’s 2017 financial outlook. We view ENDP’s new outlook as
               achievable and believe the positive stock reaction is a sign that investors are relatively
               comfortable with ENDP’s ability to execute against the 2017 target set today.” 83
           •   Guggenheim stated that “ENDP reported a 4Q16 beat and guided down for ’17, which
               was expected given pricing pressure in generics.” 84
           •   Piper Jaffrey stated that “[t]ough outlook for legacy generics, but shouldn’t come as a
               surprise. […] ENDP guided to a 30%+ top-line decline for the base business in 2017,
               not at all a surprise […]” 85
           •   Stifel stated that the FY2017 guidance “was lighter than anticipated, likely from the
               continued expected erosion in the US Generics base business.” 86


80
   “[A]pproximately $3.45 billion to $3.6 billion, a low double-digit decline versus 2016 […]” Endo Earnings Call,
February 28, 2017, p. 7.
81
  “Qtrly Beat with Mixed 2017 Update; Continue to See Long Road to Recovery –ALERT,” JP Morgan, February 28,
2017, p. 1. Emphasis added.
82
  “Outlook brings multiple moving parts but key challenges remain,” Goldman Sachs, March1, 2017, p. 1. Emphasis
added
83
 “Solid Q, risk/reward favorable for 2017; reiterate Buy,” Bank of America Merrill Lynch, February 28, 2017, p. 1.
Emphasis added.
84
   “ENDP - Gonna Stick Around for the Blaise of Glory in ’18+,” Guggenheim, February 28, 2017, p. 1. Emphasis
added.
85
  “A Tale of Two Generics Businesses; More Divestitures Needed; Staying Neutral,” Piper Jaffray, February 28, 2017,
p. 1.
86
     “Quick Take on 4Q16 ENDP Results,” Stifel, February 28, 2017, p. 1. Emphasis added.




                                                        23
          Case 2:17-cv-05114-MMB Document 133-6 Filed 08/17/20 Page 25 of 69




           •   Leerink stated that “[g]enerics biz erosion is consistent with outlook provided earlier in
               the year.”87
45.        The Complaint also highlights what it calls a “massive” impairment charge Endo announced
on February 28, 2017: “$2.85 billion tied specifically to the permanent impairment of Endo’s
generics business to reflect its true value” and “wiping out 40% of the goodwill associated with
Endo’s U.S. generics business’ value.”88 The Complaint claims the impairment was a recognition
of that fact that Endo was a “target of law enforcement,” and that “the Inflated Profits were never
coming back.”89 However, very few analysts commented explicitly on the impairment charge and
those who did viewed it as a result of the known developments in the generics business, and no
analysts described it as surprising or unexpected. For example, Susquehanna Financial Group
stated that “ENDP took a whopper of an additional impairment in 4Q for past acquisitions. We
view this as more of a reflection of the adjustments to the generics outlook that are already
incorporated in forecasts.”90 As detailed further below, the charge was driven largely by a
reduction in expected cash flow due to pricing pressures, which was itself attributable to the erosion
in the generics business and other forces that were already discussed by analysts in 2016.91
Importantly, many factors that contributed to this impairment charge,92 including the “increased
buying power from the continued consolidation of its customer base” and “increased levels of
competition due to the new low-cost competitors,” had been repeatedly discussed in Endo’s
earnings releases and referenced in analyst commentary in previous quarters during fiscal year

87
     “4Q Wrap-Up: Modest Sales Beat, But Lowering Ests on Pessimistic ‘17 Guide,” Leerink, February 28, 2017, p. 1.
88
     Complaint, ¶¶ 15, 264.
89
     Complaint, ¶ 86.
90
  “Endo International: Outlook Points To Ability To Sustain Business,” Susquehanna Financial Group, March 1, 2017,
p. 2. Emphasis added.
91
   “The Company’s revised forecast reflects a change in [outlook], primarily for its generics reporting unit, reflecting
the quickly evolving new realities of the US generics external environment, as characterized by increased buying power
from the continued consolidation of its customer base, increased levels of competition due to the new low-cost
competitors, and accelerated FDA ANDA approvals, and a change in the value drive from estimated future pricing
levels. […] All of these factors, coupled with increases in the risk factor included in the discount rate used to calculate
the discounted cash flows, have driven a material decrease in the estimated fair value of our generics reporting unit,
and certain intangible assets. This change in the estimated implied fair value led to the majority of the impairment
charges recorded in the fourth quarter.” Endo Earnings Call, February 28, 2017, p. 6.
92
   Furthermore, the impairment charge reflects factors unrelated to the Plaintiff’s allegations. For example, it is my
understanding that pricing pressures due to the consolidation of Endo’s customer base, a factor that contributed to the
impairment charge (and that is distinct from the pricing pressures due to competition that Endo also disclosed that day),
is unrelated to Plaintiff’s allegations.




                                                           24
           Case 2:17-cv-05114-MMB Document 133-6 Filed 08/17/20 Page 26 of 69




2016.93 In fact, the impairment charge was simply a necessary accounting adjustment to reflect in
the financial statements what was already well-known to the market about the prospects for Endo’s
generics business.94 Relatedly, both for this quarter and in general, in assessing Endo’s results and
performance, analysts focused on its “adjusted” EPS numbers, as opposed to the bottom-line
“reported” (GAAP) number. Adjusted EPS removes the effects of unusual, non-recurring items
such as the impairment charge because such charges are less relevant to assessing current
performance and predicting future profitability (for example, the reported earnings “surprise”
discussed by analysts, and that I discussed above, compared adjusted EPS as reported by the
Company to the analyst consensus for that number).95

46.        Furthermore, Mr. Campanelli had signaled the possibility of an impairment several months
prior, during Endo’s third-quarter 2016 earnings conference call on November 8, 2016, stating that
“deeper than expected erosion and demand for our products, and/or changes to our resource
allocation resulting from our strategic assessment could result in changes in the carrying values of
assets across our segments.”96 Following this conference call, a Deutsche Bank analyst reported



93
     Endo Earnings Call, February 28, 2017, p. 6.
94
   As is well-known, the accounting system is backward-looking and historical in nature, while market prices are
forward-looking. This is why, in general, market participants, including analysts, generally pay relatively little attention
to unusual charges, write-downs, etc., which reflect declines in asset book values that are usually already well-known
to the market. See, for example, Bunsis, H. (1997), “A Description and Market Analysis of Write-off Announcements,”
Journal of Business Finance & Accounting, 24(9 & 10), 1385–1400, pp. 1387, 1390 (“Asset write-downs which do not
entail the disposal of any assets or lead to any new liabilities should not have any cash flow implications, as the event
is a pure accounting transaction … [An] asset write-down is not expected to have any effect on cash flows. Therefore,
when a firm announces a write-down, there should be no market reaction. The firm is simply reducing the carrying
value of an asset. Though this event reduces net income, the lack of a cash flow effect should lead to no reaction by
the market.”)
95
  See, for example, White, G., Sondhi, A., and Fried, D., The Analysis and Use of Financial Statements, 3rd ed., John
Wiley & Sons, 2003, Chapter 17, pp. 15–17. The Company reported both “adjusted diluted EPS from continuing
operations” and “adjusted net income from continuing operations” in addition to its as-reported GAAP numbers. It
provided guidance for both “adjusted diluted EPS from continuing operations” and “adjusted EBITDA” from
continuing operations. Endo Press Release, February 28, 2017. Furthermore, I/B/E/S also reports the full year 2016
adjusted EPS from continuing operations, which was higher than the I/B/E/S consensus estimate as of February 27,
2017. The I/B/E/S consensus was based on the adjusted EPS number because that was the EPS metric tracked and
forecast by analysts who followed Endo.
96
   Endo Earnings Call, November 8, 2016, p. 5. Note that under GAAP (accounting) rules, changes in carrying values
of such assets can only be revised downwards (upward revaluations of business segments, including goodwill are not
permitted). See, ASC 350-20-35, Financial Accounting Standards Board, https://asc.fasb.org/section&trid=2144453,
accessed on August 13, 2020. Thus, Mr. Campanelli’s comments clearly telegraphed the possibility of asset write-
downs.




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           Case 2:17-cv-05114-MMB Document 133-6 Filed 08/17/20 Page 27 of 69




that “Endo ‘management noted the possibility that greater erosion for generics and/or the outcome
of its strategic review could potentially lead to asset impairments.’”97

47.        Thus, while the large fourth-quarter 2016 bottom-line loss was largely due to the impairment
charge, the market did not view it as surprising or as a revelation of prior non-competitive pricing
decisions. Put differently, by February 28, 2017, the factors that led to the impairment charge were
largely “old news.” Similarly, none of the analysts attributed Endo’s guidance for 2017 to
“continued pricing pressure due to the end of the anticompetitive scheme [.]”98

48.        I also reviewed the public press and analyst reports surrounding this date and found no new,
positive non-allegation related confounding news about Endo that could have offset what would
otherwise have been a statistically significant negative price impact of the alleged corrective
disclosures, i.e., there was no positive news that could have offset what would otherwise have been
a negative price impact of the alleged corrective disclosures.

49.        Given these analyses, I conclude that the alleged corrective disclosures on February 28,
2017 did not negatively impact Endo’s stock price on that day.

                    2.       February 28, 2017 – March 1, 2017

50.        Endo filed its 2016 10-K with the SEC on March 1, 2017. The 10-K was accepted by the
SEC’s EDGAR system at 2:19 PM ET and so likely became publicly available soon thereafter.99
Plaintiff alleges that “[t]his news further revealed the truth concerning Defendants’ fraudulent
conduct and the risks that Defendants had concealed during the Class Period further materialize.”100
Plaintiff claims that “[b]etween the close of trading on February 27, 2017 and the close of trading
on March 1, 2017, the share price fell $0.47 or 3.5%, to close at $12.82 on heavy trading volume.”101




97
     Nye Report, Exhibit 12, p. 211.
98
     Complaint, ¶ 264.
99
  “Filing Detail,” SEC, https://www.sec.gov/Archives/edgar/data/1593034/000159303417000009/0001593034-17-
000009-index.htm, accessed on August 4, 2020. Note that the Complaint alleges that Endo’s 2016 10-K was filed
“before trading opened” but provides no evidence to support that timing, Complaint, ¶ 206. The exact timestamp of
Endo’s filing of the 2016 10-K is unknown.
100
      Complaint, ¶ 264.
101
      Complaint, ¶ 87.




                                                       26
Case 2:17-cv-05114-MMB Document 133-6 Filed 08/17/20 Page 28 of 69
           Case 2:17-cv-05114-MMB Document 133-6 Filed 08/17/20 Page 29 of 69




statistically significant at the 5% level.105 The two-day abnormal return is also not statistically
significant under Dr. Nye’s regression model.106 This finding reinforces my conclusion that the
alleged corrective disclosures on February 28, 2017 did not negatively impact Endo’s stock price.

55.        My conclusions are further supported by an intraday analysis of Endo’s stock price on
March 1, 2017. Exhibit 1 plots Endo’s intraday stock price movements on March 1, 2017. As is
clear from this plot, most of the price decline on this day (74.7%) occurred by around noon, and so
well before the 10-K was available to the market (Endo’s 10-K was accepted by the SEC at 2:19
PM).107 This reinforces my conclusion that the 10-K did not convey any incremental negative
information to investors.

VII.       DR. NYE DOES NOT PROVIDE A METHODOLOGY CAPABLE OF
           MEASURING CLASS-WIDE DAMAGES IN A MANNER CONSISTENT WITH
           PLAINTIFF’S THEORY OF LIABILITY

              A.     Dr. Nye’s Proposed Damages Model

56.        According to Dr. Nye, “[a]n investor incurs damages when a security is acquired at a price
that is inflated as a result of false or misleading statements or omissions, provided that a later
corrective disclosure and/or the materialization of a concealed risk causes the price of that security
to decline.”108 Dr. Nye proposes to measure price inflation “on a Class-wide basis by analyzing the
change in [the Company’s] security’s price caused by a corrective disclosure and/or the
materialization of a concealed risk.”109 Further, Dr. Nye asserts that the “decline in a security’s



105
   Under an alternative specification that uses a value-weighted industry peer index, the abnormal return is negative (-
4.26%) but is not statistically significant at the 5% level. Under no model that I estimated is the cumulative return for
this two-day window negative and statistically significant.
106
    I repeated Dr. Nye’s analysis by extending his rolling regression to estimate the two-day abnormal return on
February 28, 2017 – March 1, 2017. When I do so, I find that, under Dr. Nye’s regression specification, the abnormal
return is negative (-4.23%) but not statistically significant. See Dr. Nye’s Backup Materials.
107
   The Complaint alleges that Endo’s 2016 10-K was filed (and became available to the market) before market open
on March 1, 2017. Endo’s stock price, however, increased in overnight trading hours suggesting that the market’s
reaction to Endo’s 2016 10-K, if it indeed became public before the market open, was not negative. Specifically,
Endo’s stock price closed at $13.65 on February 28, 2017 and opened at $13.83 on March 1, 2017, i.e., it increased by
1.32% during pre-marker hours trading. Furthermore, around 2:19 PM ET (the time Endo’s 2016 10-K was accepted
by the SEC), Endo’s stock price remained mostly unchanged. See, Exhibit 1.
108
      Nye Report, ¶ 59.
109
      Nye Report, ¶ 60.




                                                          28
           Case 2:17-cv-05114-MMB Document 133-6 Filed 08/17/20 Page 30 of 69




price in response to such events reflects the dissipation of price inflation caused by earlier
misrepresentations and/or omissions.”110

57.        In this case, there are two alleged corrective disclosure dates (or date ranges)—November
3, 2016 and February 28, 2017−March 1, 2017—on which Plaintiff alleges the market responded
to the purportedly corrective disclosures and/or reflected materialization of an allegedly concealed
risk(s). The stock price declines that Dr. Nye would presumably use for purposes of his damages
calculation are measured on these dates.111

58.



                                                                                        113
                                                                                              Dr. Nye claims that his
event study could be “used to isolate Company-specific price movement caused by the revelation
of true facts related to the alleged fraud” from “changes in market and industry conditions or the
dissemination of material, non-fraud-related, Company-specific information.”114 Dr. Nye further
asserts that “[a]fter isolating the price impact of the alleged misstatements and omissions, one can
estimate the price inflation due to the alleged fraud for each day during the Class Period, and on a
Class-wide basis for each member of the Class.”115

59.        Finally, Dr. Nye appears to propose to use “the size of the [abnormal] return” on the alleged
corrective disclosure date as “evidence of the amount by which concealing that particular
information inflated [Endo’s] stock.”116 Once Dr. Nye has calculated “the price inflation due to the




110
      Nye Report, ¶ 60.
111
   Dr. Nye’s description of the methodology he claims he would apply in this case is generic and does not specify the
date he would use, the nature of the corrective disclosures, or the materializations of risk. In fact, Section VII of his
report does not reference Endo, its disclosures, or indeed anything specific to the current matter at all. Nye Report, ¶¶
58−62.
112
      Nye Deposition, 122:11−122:12.
113
      Nye Deposition, 84:23−84:34, 85:9−85:22.
114
      Nye Report, ¶ 60.
115
      Nye Report, ¶ 60.
116
      Nye Report, Footnote 98. Emphasis original.




                                                          29
           Case 2:17-cv-05114-MMB Document 133-6 Filed 08/17/20 Page 31 of 69




alleged fraud” throughout the proposed Class Period, a Class member’s actual trading activity can,
according to Dr. Nye, be used to “mechanically” calculate damages.117

              B. A Proposed Damages Methodology Must Reliably Measure Inflation

60.        Any methodology capable of properly measuring damages in this matter must provide a
reliable measure of price inflation for each day of the proposed Class Period. Measured price
inflation on each day is the difference between (a) the actual stock price on that day, and (b) the
“but-for” stock price (in other words, the price that would have been observed in the absence of the
alleged misrepresentations). While (a) is observable (we know what the stock price was on each
day), (b) must be estimated using a methodology capable of reliably measuring the effects of the
counterfactual (i.e., corrective) information on the security’s price on any given day.

61.        To put it differently, Plaintiff’s methodology must reliably measure the effect on Endo’s
stock price of any disclosures Plaintiff claims should have been made on each day of the proposed
Class Period. This poses at least two significant challenges in this case.

62.        First, Plaintiff must be able to specify what alternative disclosures the Company could and
should have made on each day during the proposed Class Period. To do so, Plaintiff or its expert
must identify both the information that was known to and should have been disclosed by Defendants
on each day during the proposed Class Period, and moreover, how that information, if disclosed,
would have changed the total mix of information in the marketplace such that there would have
been no misrepresentations.          Furthermore, to the extent the alleged corrective information
constitutes a materialization of risk (as I understand has been alleged here),118 then, at best, all the
Company could have done would have been to disclose the risk earlier and more fully—it could
not have disclosed the materialization of the risk (the outcome) until it actually occurred.

63.         Second, setting aside the inherent difficulties of properly identifying what information
could and should have been disclosed earlier in the Class Period, one must also reliably measure
the effect of that hypothetical corrective information on the price of the security on each day during
that period. This is particularly challenging where, as here, the proposed Class Period encompasses


117
   Nye Report, ¶ 61. Dr. Nye further states that the damages for each member of the proposed Class should reflect
adjustments responsive to Dura and the “90-day lookback” provision of the Private Securities Litigation Reform Act
of 1995. Nye Report, ¶¶ 60–62.
118
      Complaint, ¶ 258.



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           Case 2:17-cv-05114-MMB Document 133-6 Filed 08/17/20 Page 32 of 69




a two-year period during which the market and business circumstances facing the Company, and
the leverage and riskiness of its stock, were changing in ways that would likely affect the economic
value of a given piece of information.

              C. Flaws in Dr. Nye’s Proposed Damages Approach

64.        As described above, Dr. Nye proposes to use an event study to isolate the company-specific
price decline in Endo’s stock (purportedly attributable to the alleged fraud) at the time of the alleged
corrective disclosures, and then to measure inflation retroactively on each day during the proposed
Class Period. Such a simplistic approach, often referred to as “back-casting,”119 is inadequate given
the circumstances and complexity of this matter. As I will argue below, Dy. Nye’s proposed
damages approach is flawed in several important ways.

                    1.      Dr. Nye Does Not Articulate a Class-Wide Damages Methodology
                            Capable of Measuring Damages Attributable to Plaintiff’s Theory of
                            Liability

65.        I understand that, following the Supreme Court decision in Comcast, courts require that
plaintiffs present a damages methodology capable of separating damages attributable to plaintiffs’
different theories of liability.120 In the current matter, Plaintiff alleges at least two “independent
and separate” theories of liability (although, as I understand from counsel, only one remains viable
per Court order).121 Specifically, Plaintiff alleges that Endo made statements and omissions that
were “false and misleading” based on theories that it: (i) engaged in a price fixing agreement with
its competitors, yet failed to disclose its participation in a price fixing conspiracy to its investors,122
and (ii) misstated and omitted information about the competitive environment, the sources of its
generics income, and the causes of its price increases, thus misrepresenting the sources and
sustainability of profits from its generics business.123 If we accept—for the sake of argument in
this subsection—Plaintiff’s claim that the information revealed on November 3, 2016 and February


119
                                                                                       See Nye Deposition,
137:14−137:20.
120
      Opinion, Comcast Corp. v. Behrend, 569 U.S. 27, 35 (2013), pp. 7−8.
121
      Complaint, ¶ 186; Memorandum and Order, pp. 17, 22–23.
122
      Complaint, ¶ 186; Memorandum and Order, pp. 6, 17, 20.
123
      Complaint, ¶ 186; Memorandum and Order, pp. 6, 9.




                                                          31
           Case 2:17-cv-05114-MMB Document 133-6 Filed 08/17/20 Page 33 of 69




28 − March 1, 2017 was actually corrective of the alleged misrepresentations in this matter, Dr.
Nye fails to present a methodology that could reliably apportion the price decline on these dates (if
any) to Plaintiff’s remaining liability theory.124

66.        Consider, for example, November 3, 2016. Plaintiff alleges that on November 3, 2016 “new
information was revealed to the market regarding Endo’s anticompetitive pricing” of its generic
products through a Bloomberg article published on that date.125 The article referenced potential
anticompetitive conduct with respect to two Endo products, and “identified Endo’s generics
segment Par as among the manufacturers in question.”126 According to Plaintiff, this “news began
to reveal the truth concerning Defendants’ fraudulent conduct and the risks that Defendants
concealed during the Proposed Class Period began to materialize.” 127

67.        The investigation described in this article was focused broadly on the generics drug industry,
including Endo and thirteen other pharmaceutical companies. Assume, for purposes of this section,
that the Bloomberg article partially revealed that Endo was engaged in a price fixing agreement
with its competitors (a theory that has been excluded by the Court’s order on Defendants’ motion
to dismiss the Complaint). 128 Under Comcast, I understand that Dr. Nye needs to provide a reliable
way of apportioning the stock price decline attributable to the alleged revelation of Endo’s price
fixing conduct from that attributable to the revelation of the purported truth regarding Endo’s
misrepresentations or omissions that were misleading even in the absence of a price-fixing
conspiracy. By pointing to a standard event study, which can only ever measure the total price
decline associated with all Endo-specific news on that day, Dr. Nye fails to articulate a methodology
capable of measuring only those damages attributable to Plaintiff’s remaining liability theory.

68.        Plaintiff does not explain how the news regarding the Department of Justice (“DOJ”) price-
fixing investigation announced in the November 3, 2016 article revealed any “truth” regarding

124
   As discussed elsewhere in my report, there is no evidence that Endo’s stock price did in fact decline over the course
of the February 28 − March 1, 2017 period, or that the allegedly corrective disclosures on February 28, 2017 impacted
Endo’s stock price on that day, i.e., February 28, 2017.
125
  David McLaughlin and Caroline Chen, “U.S. Charges in Generic-Drug Probe to Be Filed by Year-End,” Bloomberg,
November 3, 2016 (“Bloomberg Article”); Complaint ¶ 260.
126
      Complaint, ¶ 261.
127
      Complaint, ¶ 261.
128
      Memorandum and Order, p. 17.




                                                          32
          Case 2:17-cv-05114-MMB Document 133-6 Filed 08/17/20 Page 34 of 69




Endo’s “market conditions, sources of revenue, and pricing decisions” (i.e., Plaintiff’s remaining
theory of liability).129




                                                130
                                                      However, Dr. Nye provides no justification for
his understanding, and offers no evidence that the price fixing allegation indeed had the same or
similar “ramifications” as “concealing the sources of income, the noncompetitive price decisions
and the abnormal market conditions.” Notably, while Endo’s quarterly earnings releases in May,
August, and November of 2016 revealed the impact of market conditions, pricing pressures, and
other adverse competitive forces on its profitability, the Complaint claims that all of these
statements are misleading and concealed the “truth” regarding Endo’s alleged anti-competitive
pricing and the associated impact on Endo’s performance. Further, the Bloomberg article makes
no reference to Endo’s “market conditions, sources of revenue, [or] pricing decisions.” None of
the analyst reports issued on this day described the investigation as revealing anything about Endo’s
“market conditions, sources of revenue, [or] pricing decisions” that was new or surprising. It is
thus hard to understand what “truth” the Bloomberg article revealed. A reasonable conclusion is
that Endo’s stock price decline on November 3, 2016 was attributable to purported government
investigations of an alleged price-fixing conspiracy, which I understand only relates to the liability
theory that the Court has since denied. For the companies named in the Bloomberg article, analysts
attributed the November 3, 2016 stock price declines to expected settlement costs related to the




129
      Memorandum and Order, p. 22.
130
      Nye Deposition, 147:8–147:16.




                                                 33
          Case 2:17-cv-05114-MMB Document 133-6 Filed 08/17/20 Page 35 of 69




DOJ investigation, and some suggested that the large decline in the sector’s market capitalization
was an overreaction relative to their estimates of those costs.131

                   2.         Dr. Nye Fails to Articulate a Damages Methodology Capable of Isolating
                              the Impact of Confounding Information

69.        Dr. Nye asserts that “[a]n event study can be used to isolate Company-specific price
movement caused by the revelation of true facts related to the alleged fraud from price movement
caused by other factors,” including “the dissemination of material, non-fraud-related, Company-
specific information.”132


                        133




70.        An event study, properly conducted, measures that portion of a security’s return (the
“abnormal return”) not explained by broader market and industry factors. However, the standard
event study analysis as conducted by Dr. Nye in the current matter cannot apportion the abnormal
return among different pieces of firm-specific information released during a given event




131
    For example, Leerink consulted a legal specialist and provided examples of possible outcomes regarding the
investigation: “So, for example, if a generic pharma were to be found guilty of benefiting $200m in profit from a
collusive price hike, the cumulative DOJ/class action damages could be $1bn. […] [But also notes that] most of these
cases settle according to the specialist, ~50-75% based on his experience.” “More Pricing Headwinds: DOJ Probe A
Likely Overhang For Several Qtrs,” Leerink, November 3, 2016, p. 1. Susquehanna Financial Group stated that the “2-
year investigation was known, though the need for aggressive action seemed diminished by a shift to price erosion that
already battered earnings and valuations. The impression of an overdone reaction is reinforced by work from SFG’s
Litigation Analyst Tom Claps suggesting the sector’s exposure is likely much less than the > $7 bln lost market cap
based on DOJ’s largest price fixing cases […]” “DOJ Price-Fixing Case A Major Overhang but Declines Overdone
vs. Precedents,” Susquehanna Financial Group, November 4, 2016. Emphasis in original. Morgan Stanley stated that
“stocks appear to be overreacting to DOJ generic price collusion investigation […] [because] [f]ive drugs known to be
involved in the investigation account for a minimal percentage (0-2%) of total ‘17E sales for TEVA, MYL, and ENDP.”
“Stocks Appear to Be Over-Reacting to DOJ Generic Price Collusion Investigation,” Morgan Stanley, November 3,
2016, p. 1. Deutsche Bank also highlighted that “[i]t is hard to imagine a scenario in which the financial penalties, if
any, would end up approaching the ~$8.5B in market cap that was wiped out.” “Initial thoughts on generics news,”
Deutsche Bank, November 4, 2016.
132
      Nye Report, ¶ 60. Emphasis added.
133
      Nye Deposition, 159:13−159:16.
134
      Nye Deposition, 159:15−159:16.




                                                          34
           Case 2:17-cv-05114-MMB Document 133-6 Filed 08/17/20 Page 36 of 69




window.135,136




                                            138
                                                  However, Dr. Nye ignores the fact that the valuation models
(including those of analysts) to which he refers at deposition are not part of the event study analysis
he proposed, nor does he explain how to actually use these valuation models here, and perhaps more
importantly, the fact that such tools require significant subjective judgment especially if one were
to try and use them to dissect the effect on stock price of distinct (qualitative) economic factors,
such as “price pressures,” that would be necessary here.139 Merely suggesting the potential use of
these valuation models does not resolve the challenges of actually measuring damages consistent
with Plaintiff’s theory of liability. These valuation models are more correctly thought of as broad
approaches, each of which can be implemented in a variety of ways, as opposed to being clearly
specified methods.

71.        For example, on February 28, 2017, when Plaintiff alleges that Endo disclosed an
impairment charge “wiping out 40% of the goodwill associated with Endo’s U.S. generics business’
value” along with allegedly “disappointing 2017 guidance,”140 among other items, the Company
also disclosed other news that analysts viewed as disappointing that are unrelated to Plaintiff’s
allegations. Those included a higher than expected adjusted effective tax rate, higher than expected

135
   See, for example, Campbell, Lo, and MacKinlay (1997), pp. 151−152, who indicate that an event study has very
clear structure and criteria. It requires the event definition, selection criteria, normal and abnormal returns, estimation
procedure, testing procedure, the empirical results, and interpretation and conclusions.
136
    For this reason, it is conventional practice in event studies, which typically form large samples of specific types of
events such as merger announcements or announcements of bond ratings changes, to drop observations that are
“contaminated” by other news disclosed by or about the company during the event window. See, for example,
Holthausen, R. W., and Leftwich, R. W. (1986) “The Effect of Bond Rating Changes on Common Stock Prices,”
Journal of Financial Economics, 15, 57−89, p. 65.
137
      Nye Deposition, 158:2−158:12.
138
                                                                                        Nye Deposition, 158:19−158:22.
139
   Damodaran, A., Damodaran on Valuation, 2nd ed., John Wiley and Sons, 2006, pp. 4–7. “Barring a very small
subset of assets, there will always be uncertainty associated with valuations, and even the best valuations come with a
substantial margin for error. […] Even at the end of the most careful and detailed valuation, there will be uncertainty
about the final numbers […] It is unrealistic to expect or demand absolute certainty in valuation, since the inputs are
only estimates.”
140
      Complaint, ¶ 264.




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           Case 2:17-cv-05114-MMB Document 133-6 Filed 08/17/20 Page 37 of 69




variable-rate interest expense, weak operating cash flows, higher than expected future payouts
related to ongoing mesh product litigation, and weaker than expected performance in its
international generics and U.S. branded pharmaceuticals segments.141 Deutsche Bank observed that
“the company aspires to reduce net leverage to 3-4x (from 4.6x) but did not provide a timeframe
given various uncertainties; and […] ENDP did not increase its accrual for mesh liability, but did
provide a higher estimate for potential cases not yet accrued for (~9.7k, up from ~8k).”142 See
Exhibit 2 for additional analyst commentary related to these factors. The portion of the stock price
decline attributable to such non-allegation related confounding information would not comprise
damages attributable to Plaintiff’s claims. In the end, Dr. Nye fails to articulate a methodology that
can control for confounding information and provides only vague and unsubstantiated claims that
his purported event study would be able to isolate the effect of company-specific, yet non-allegation
related stock price movements.

                    3.       The Price Decline Following the Materialization of a Risk Necessarily
                             Overstates Inflation Caused by Concealing that Risk Earlier during the
                             Proposed Class Period

72.        Dr. Nye claims that “[p]rice inflation may be measured on a Class-wide basis by analyzing
the change in a security’s price caused by a corrective disclosure and/or the materialization of a
concealed risk.”143 Plaintiff argues that the alleged corrective disclosures revealed “numerous and




141
    Endo Press Release, February 28, 2017. Note that while the Company’s 2017 adjusted EPS guidance missed
analysts’ estimates, this was largely attributable to a higher than expected effective tax rate and interest expense, as
observed by a number of analysts; the Company’s 2017 EBITDA guidance was largely in-line with expectations. This
is important because neither of these factors (the tax rate or interest expense) are related to Plaintiff’s allegations. For
example, Goldman Sachs noted that “despite an 8% shortfall in 2017 revenue guidance versus consensus, a surprisingly
strong gross margin outlook – on product mix and cost initiatives – yielded a 2017 EBITDA forecast generally in-line
with consensus (adjusting for the Lithia sale).” “Outlook brings multiple moving parts but key challenges remain,”
Goldman Sachs, March 1, 2017, p. 1, emphasis added. JP Morgan also explained that Endo provided “[m]ixed 2017
guidance with revenue/EPS below but adj. EBITDA guidance largely in line with expectations. Endo provided full-
year revenue guidance of $3.45–$3.60bn, adjusted EPS of $3.45–$3.75 and adjusted EBITDA of $1.50–$1.58bn. This
compares with cons revenue of ~$3.85bn, EPS of ~$4.24 and EBITDA of ~$1.57. While we will listen for more color
on the call regarding revenue drivers, a big portion of the EPS miss is driven by higher interest expense (~$475mn
guide vs. our current estimate of ~$433mn due to an increase in variable-rate interest expense) and tax rate (13–14%
vs. our estimate of ~9%, although the cash tax rate remains in the low-single digits).” “Qtrly Beat with Mixed 2017
Update; Continue to See Long Road to Recovery – ALERT,” JP Morgan, February 28, 2017, p. 1, emphasis added.
142
      “2017 a transition year,” Deutsche Bank, March 2, 2017, p. 1.
143
      Nye Report, ¶ 60.




                                                            36
           Case 2:17-cv-05114-MMB Document 133-6 Filed 08/17/20 Page 38 of 69




related risks.”144 To the extent that such risks were allegedly concealed during the Class Period and
that the allegedly corrective disclosures subsequently reflect the materialization of those risks, the
associated stock price decline on those days does not—and cannot—accurately measure damages.
In other words, and contrary to Dr. Nye’s claim, the stock price decline upon the materialization of
a concealed risk (i.e., when the risk becomes a 100% certainty) cannot measure the purported stock
price inflation due to the earlier concealment of risk (when the risk was still uncertain).145 This
damages methodology leads to a systematic overstatement of damages. See Appendix E for an
illustrative example.

73.          Dr. Nye’s damages approach also fails to consider that the alleged “risks” were not
concealed but were in fact previously discussed by Endo—note that damages under Dr. Nye’s
methodology are overstated irrespective of whether risks are concealed or understated. For
example, Endo had disclosed the pricing investigation into Par that was described in the November
3, 2016 Bloomberg article. Specifically, in financial statements Endo filed in 2015 after the Par
acquisition, the Company disclosed that Par had received a subpoena from the DOJ and that Par
was cooperating with the investigation.146 Endo further disclosed, in the first Form 10-K filed after
the Par acquisition, that antitrust matters such as the DOJ investigation into Par are inherently
unpredictable and that the company could not predict outcomes of those matters.147 And the
November 3, 2016 Bloomberg article itself notes that Par had previously disclosed the DOJ




144
      Complaint, ¶ 258.
145
   I am not opining that the entire abnormal price declines observed on November 3, 2016 and February 28−March 1,
2017 reflect the materialization of risks, as other company-specific factors could also be reflected in the aggregate price
decline. Rather, I am referring to the portion of the price decline that is associated with the materialization of the risks.
146
   See for example, Endo International plc, Form 10-Q, filed on November 9, 2015: “In December 2014, our subsidiary,
Par, received a Subpoena to Testify Before Grand Jury from the Antitrust Division of the DOJ […] request[ing]
documents and information focused primarily on product and pricing information relating to Par’s authorized generic
version of Lanoxin (digoxin) oral tablets and Par’s generic doxycycline products, and on communications with
competitors and others regarding these products. Par is currently cooperating fully with the investigation.” See also,
Endo 2015 10-K, p. 45.
147
   For instance, in Endo 2015 10-K, the Company mentions “Investigations similar to these antitrust matters described
above may be brought by others. We are unable to predict the outcome of these investigations or the ultimate legal and
financial liability, if any, and at this time cannot reasonably estimate the possible loss or range of loss for these
investigations, if any, but will explore all options as appropriate in our best interest.”




                                                            37
            Case 2:17-cv-05114-MMB Document 133-6 Filed 08/17/20 Page 39 of 69




inquiry.148 Various analysts likewise commented that the DOJ investigation was known to the
market.149

74.         To the extent that an alleged risk (e.g., the risk of government scrutiny over alleged product
pricing in this case) had been fully disclosed or was otherwise known to the market before the
alleged corrective disclosure date, there can be no damages associated with that risk. If an alleged
risk was understated or concealed, any inflation in Endo’s stock price earlier in the proposed Class
Period should only reflect the price difference attributable to that portion of the risk that was
understated or concealed. In other words, the purported inflation should only capture the difference
between the “true” level of risk and the level of understated risk known to the market. As with any
such event study, however, Dr. Nye’s approach necessarily captures the full price effect of the
realization of risk (when the risk becomes a certainty) as opposed to the portion of this amount due
to the understatement of the risk.150 See Appendix E for an illustrative example.

75.
                                                         151




                    152




      153
            Putting aside the issue of whether Dr. Nye’s proposed damages methodology is reliable
when the materialization of risk is a “virtually certain” foreseeable consequence (it is not), Dr. Nye
provides no evidence or analysis showing that in this current matter, the risks allegedly materialized
on November 3, 2016 or February 28 – March 1, 2017 were “virtually certain to occur” with


148
   “Mylan and Par have said they’ve been asked about doxycycline […] Impax, Lannett and Par have all disclosed
receiving inquiries about digoxin.” Bloomberg Article.
149
   For example, Susquehanna Financial Group noted that “[…] report that DOJ is ready to make a criminal case out of
past price increases. The 2-year investigation was known […]” “DOJ Price-Fixing Case A Major Overhang but
Declines Overdone vs. Precedents,” Susquehanna Financial Group, November 4, 2016, p. 1.
150
   As noted earlier, the firm-specific price decline on the alleged corrective disclosure dates may reflect confounding
factors and other corrective disclosures along with the effect of the materialization of risk. As described above, Dr.
Nye has not provided any methodology that can isolate the price effect of the materialization of risk from these other
factors, which further renders his proposed damages approach unreliable.
151
      Nye Deposition, 126:21−126:23.
152
      Nye Deposition, 133:16−134:5.
153
      Nye Deposition, 133:23−134:5.



                                                         38
        Case 2:17-cv-05114-MMB Document 133-6 Filed 08/17/20 Page 40 of 69




foreseeable consequences. Furthermore, Dr. Nye does not offer a methodology that can correctly
account for the inflation associated with an allegedly concealed risk whose materialization was not
foreseeable with a certainty, and Dr. Nye completely ignores (in his report and at deposition) the
significant hurdles the materialization of risk poses to estimation of damages in this matter.

                  4.        Dr. Nye Fails to Explain How His Proposed Damages Approach Would
                            Take into Account the Time-Varying Nature of the Alleged Inflation in
                            Endo’s Stock Price

76.      Even if one ignores all of the other flaws with Dr. Nye’s proposed damages approach, there
are good reasons to expect the impact of an earlier counterfactual disclosure to be different from
that observed on the alleged corrective disclosure dates. Dr. Nye ignores economically important
factors that likely caused the alleged inflation to fluctuate (and likely increase) over time. This is
because the price of a security is determined by the mix of contemporaneous information available
to investors, which typically evolves and changes over time. Over the proposed Class Period,
Endo’s business focus changed, its leverage (and so the riskiness of its stock) increased
considerably, and the alleged “Inflated Profits” varied. Dr. Nye fails to explain how his measure
of price inflation could account for the effect of such changes during the proposed Class Period.

77.      Dr. Nye ignores various well-known changes to Endo’s business model and focus during
the proposed Class Period that would change the purported inflation in Endo’s stock price. During
the proposed Class Period, Endo made several acquisitions and shifted its business model focus
from one driven by growth through mergers and acquisitions toward a model that was more focused
on improving margins and deleveraging.154 As a result of these changes, the U.S. generics segment
became a more important part of Endo’s business.

78.      Endo’s stock price risk changed during the proposed Class Period. These changes in risk
are at least partly due to the fact that Endo’s stock price declined during the proposed Class Period
before any alleged corrective disclosure was made, causing its leverage to increase substantially.


154
    As discussed above, during its February 28, 2017 Earnings Call, Endo expressed an evolution to their business
strategy, namely (1), “[A] priority is to build our portfolio and capabilities for the future. In doing so, we identified
assets and businesses that were no longer core to us and divested them, or plan to in the near future, as they no longer
align with our go-forward strategy. [...] We are investing where we can win, and divesting non-core assets.” and (2),
“[Another] priority is to drive margin expansion and delever. [...] [D]elevering is a priority, and we do aspire to delever
back into the 3 to 4 times range over time.” Endo Earnings Call, February 28, 2017, p. 3.




                                                           39
Case 2:17-cv-05114-MMB Document 133-6 Filed 08/17/20 Page 41 of 69
           Case 2:17-cv-05114-MMB Document 133-6 Filed 08/17/20 Page 42 of 69




industry factors) as well as the regression standard errors (which measure the “unsystematic,” or
company-specific risk of the stock) increased noticeably during the proposed Class Period.159 This
reinforces my view that Endo changed systematically during the proposed Class Period in a manner
that has direct implications for how its stock price would have reacted to the alleged corrective
disclosures had they been made earlier in the proposed Class Period.

80.        Furthermore, as Endo’s leverage increased, the Company itself recognized that the riskiness
of its stock had increased, as reflected in its decision to increase the discount rate used in its
impairment calculations. In explaining this change, the Company discussed the increased discount
rate “resulting from recent trading values of our stock,” and that it used higher discount rates (8.5%
to 11% in Q4 FY16 vs. 8.5% to 9.0% in Q2 FY16) in the valuation of its reporting units to determine
the impairment charge announced on February 28, 2017.160 According to Endo, “a 50 basis point
increase in the assumed discount rate utilized […] would have increased our Generics reporting
unit goodwill impairment charge by approximately $440 million […]”161 If Plaintiff’s view is that
Endo should have taken an impairment charge earlier in the proposed Class Period, Dr. Nye fails
to consider that that an earlier impairment change would have been significantly smaller. Dr. Nye
also fails to consider that, because the impairment charge was also due to acquisitions that occurred
during the proposed Class Period (for instance, potentially the Par acquisition), it could not have
occurred at the beginning of the proposed Class Period.

81.        Dr. Nye’s approach of modeling inflation as constant over time is also inconsistent with
Plaintiff’s own argument that Endo’s anticompetitive pricing behavior varied systematically during
the proposed Class Period. For example, according to the Complaint, at least two out of thirteen
generic products with allegedly inflated profits (Butalbital/Acet/Caff and Phenobarbital Tablets)
were subject to price increases after the beginning of the proposed Class Period, while the prices of
other products had been increased before the proposed Class Period began,162 and still others were


159
   Dr. Nye’s Backup Material; Nye Report, Exhibit 11A and 11B. This breakdown — of a security’s total return
volatility (risk) into systematic and unsystematic risk — is a fundamental idea in finance and a basic premise of the
event study model. For example, see, Fama, E.F., Foundations of Finance, Basic Books, 1976, p. 104.
160
      Endo 2016 10-K, pp. 59, F–40; Endo International plc, Form 10-Q, filed on August 9, 2016, p. 23.
161
      Endo 2016 10-K, p. 56.
162
      Complaint, ¶¶ 98–144.




                                                           41
           Case 2:17-cv-05114-MMB Document 133-6 Filed 08/17/20 Page 43 of 69




not acquired until later (three of the thirteen products with “inflated profits” (Isosorbide,
Cholestyramine, Digoxin) were not acquired until September 2015).163 Therefore, by Plaintiff’s
own argument, inflation must have changed over time depending on both the number of products
generating “Inflated Profits” as well as the amount of those profits at different points in time. Dr.
Nye’s methodology does not make clear, or even discuss, how his generic “back-casting” approach
would account for such changes.

82.        Dr. Nye also fails to consider how the Par acquisition itself would have impacted purported
inflation in Endo’s stock price. Endo purchased Par partly through a secondary issuance of shares.
According to Plaintiff’s arguments, the price of these shares was inflated, which implies that Endo
issued fewer of its own shares than it would have otherwise have done in a “but-for” world absent
the purported inflation. Consequently, it is not clear how the allegedly inflated profits from the Par
products translated into inflation in Endo’s stock price.164 If the alleged share price inflation at the
beginning of the proposed Class Period is different from the alleged share price inflation following
the acquisition of Par, as logic dictates it would be, Dr. Nye fails to offer a methodology to
determine the changes in the alleged inflation due to the Par acquisition.

83.




                                                       166




163
      Complaint, ¶¶ 135, 139, 142; Endo 2016 10-K, p. F–26.
164
   Moreover, the fact that the November 3, 2016 Bloomberg article only mentions the Par products as being subject to
the DOJ investigation (and not any other Endo products) further complicates one’s ability to properly estimate inflation
based on an event study on that date. Dr. Nye does not describe how he would disentangle the impact of this alleged
corrective disclosure from inflation due to those alleged misstatements and omissions unrelated to Par’s products that
Plaintiff also alleged were also corrected on that date. Complaint, ¶¶ 260–261; Bloomberg Article.
165
      Nye Deposition, 121:4–121:7.
166
      Nye Deposition, 121:20–122:6.




                                                          42
           Case 2:17-cv-05114-MMB Document 133-6 Filed 08/17/20 Page 44 of 69




                    5.    Dr. Nye Fails to Demonstrate How His Damages Methodology Can Be
                          Applied Across Different Types of Investors

84.        Dr. Nye asserts that damages “can be calculated using a methodology that is common to the
Class.”167 However, he does not analyze whether there are likely to be differences in the investment
decision-making and risk preferences of different Endo investors. In fact, there are likely to be
important differences among Endo’s investors: for example, there are likely to be some investors
with a low appetite for risk who may not have invested in Endo at all but for the alleged
misrepresentations, who would be in a different economic position from those investors with greater
risk tolerance, who may still have invested in Endo (albeit at a lower price) had the purportedly
“true” risks been disclosed during the proposed Class Period. Dr. Nye fails to demonstrate how his
damages methodology can be applied on a class-wide basis for investors in these different economic
situations.

85.        For example, the Vanguard Group168 manages funds that mostly follow a passive indexing
strategy, which seeks to replicate the returns of a benchmark index. The goal under that approach
is to replicate the weight of Endo in an index portfolio regardless of any idiosyncratic (Endo-
specific) risk. On the other hand, Norges Bank Investment Management (NBIM),169 a sovereign
wealth fund that also invests in Endo, follows a “Core Value” investment style. The primary goal
under that approach is not to replicate returns on an index portfolio. Instead, NBIM is an “active”
manager that seeks to identify undervalued stocks. For that reason, NBIM—unlike Vanguard—




167
      Nye Report, ¶ 7.
168
   According to Endo Form Def 14A filings, Vanguard Group held 9,067,089 shares of common stock (5.1% of total
shares outstanding) as of April 14, 2015, and held 18,800,418 shares of common stock (8.4% of total shares
outstanding) as of April 13, 2017. See Endo International plc, Form Def 14A, Proxy Statement for the 2015 Annual
General Meeting of Shareholders, April 29, 2015, pp. 22, 58; Endo International plc, Form Def 14A, Proxy Statement
for the 2017 Annual General Meeting of Shareholders, April 28, 2017, pp. 23, 63.
169
    According to Endo Form Def 14A filings and Refinitiv Thomson Reuters Eikon, Norges Bank Investment
Management (NBIM) held 213,849 shares of common stock as of June 30, 2015 (0.1% of total shares outstanding as
of April 14, 2015), and held 1,635,834 shares of common stock as of December 31, 2016 (0.7% of total shares
outstanding as of April 13, 2017). See Endo International plc, Form Def 14A, Proxy Statement for the 2015 Annual
General Meeting of Shareholders, April 29, 2015, pp. 22; Endo International plc, Form Def 14A, Proxy Statement for
the 2017 Annual General Meeting of Shareholders, April 28, 2017, p. 23.




                                                       43
        Case 2:17-cv-05114-MMB Document 133-6 Filed 08/17/20 Page 45 of 69




pays close attention to idiosyncratic and Company-specific risks, which directly affects its
investment decisions.170

86.      Accordingly, it seems likely that, had Endo made different risk disclosures earlier in the
proposed Class Period, different investors would have made different decisions about whether to
purchase Endo’s common stock. This was borne out in reality: those investors who purchased
Endo shares after the November 3, 2016 Bloomberg article—which allegedly began to reveal a
concealed risk—knowingly took on more risk than those investors who only purchased shares
before that date.171

87.      Dr. Nye does not analyze the potential differences in the investment decisions and risk
appetites of Endo’s investors. Given these differences, Dr. Nye fails to demonstrate how his
damages methodology can be applied on a class-wide basis. To the contrary, evidence suggests
that individualized inquiry may be necessary to identify different investors’ risk thresholds, which
could inform individualized damages estimates.




                                                                Signed: __________________________
                                                                        Douglas J. Skinner, Ph.D.

                                                                          August 17, 2020




170
    From an economic perspective, the only class members who could potentially claim as damages the entire stock
price decline on the alleged corrective disclosure days are those who would not have purchased the stock at all had the
alleged misrepresentations and omissions not been made. As discussed in V.II.C.3, under the realization of risk liability
theory, class members who would have purchased the stock anyway, albeit at a lower price, would be overcompensated
if they were awarded damages corresponding to the entire price decline on the alleged corrective disclosure days.
171
   Endo’s stock price declined steadily during the trading day on November 3, 2016. The stock opened at $18.24 and
had dropped to $16.87 (average trade price at 2:10:26 PM ET) by the time the Bloomberg article was published (at
2:10:27 PM ET). Endo’s stock price did not trade below $16.86 at any point before 2:10:27 PM ET.



                                                          44
    Case 2:17-cv-05114-MMB Document 133-6 Filed 08/17/20 Page 46 of 69
                                                                          APPENDIX A
                                                                          July 22, 2020


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Education

      B.Ec. (First Class Honours), Accounting/Finance, Macquarie University, 1985.
      M.S., Applied Economics, University of Rochester, 1988.
      Ph.D., Accounting (major area), Finance (minor area), University of Rochester, 1989.

Appointments

      University of Chicago, Booth School of Business
             Deputy Dean for Faculty, 2015-2016, 2017-
             Interim Dean, 2016-2017
             Eric J. Gleacher Distinguished Service Professor of Accounting, 2014-
             John P. and Lillian A. Gould Professor of Accounting, 2006-2013
             Executive Director, Accounting Research Center, 2011-2016
             Professor of Accounting and Neubauer Family Faculty Fellow, 2005-2006
             Neubauer Faculty Fellow and Visiting Professor of Accounting, 2003-2004

      Independent trustee, audit committee chair; Harbor Funds, 2020-

      Senior Fellow, Asian Bureau of Finance and Economic Research (ABFER), 2017-

      University of Melbourne, Faculty of Business and Economics
             Professorial Fellow, 2010-

      Journal of Accounting Research
             Senior Editor, 2006-present.

      Journal of Accounting & Economics
             Editor, 2000-2005.
             Associate Editor, 1994-2000.

      University of Michigan Business School
             KPMG Professor of Accounting, 1998-2005
             Accounting Area Chair, 2001-2003
             Professor of Accounting, 1997-2005
             Associate Professor of Accounting, 1993-1997
             Assistant Professor of Accounting, 1989-1993



                                                                                          Page 1
     Case 2:17-cv-05114-MMB Document 133-6 Filed 08/17/20 Page 47 of 69
                                                                           APPENDIX A


       Coopers & Lybrand (Sydney)
             Auditor, 1980-82.

Scholarly Honors and Awards

   Distinguished Ph.D. Mentoring Award, Financial Reporting Section, American Accounting
      Association, 2020.

   BlackRock prize for best paper at 2015 Review of Accounting Studies conference (“The role
      of the media in disseminating insider trading news.” With Jonathan Rogers and Sarah
      Zechman.)

   Hillel J Einhorn Excellence in Teaching Award, 2014.

   Emory Williams Award for Teaching Excellence, 2013.

   American Accounting Association Financial Reporting Section best paper prize in 2009.
     (“Earnings Momentum and Earnings Management.” With James Myers and Linda
     Myers. Journal of Accounting, Auditing and Finance, 22, 2, Spring 2007: 249-284.)

   Jensen Prize for the best paper in Corporate Finance and Organizations published in the
      Journal of Financial Economics in 2004. (“Are Dividends Disappearing? Dividend
      Concentration and the Consolidation of Earnings.” With Harry DeAngelo and Linda
      DeAngelo.)

   CQA/IBES Research Competition, 1998. (“Earnings Surprises, Growth Expectations, and
     Stock Returns or Don’t Let an Earnings Torpedo Sink Your Portfolio.” With Richard
     Sloan. Review of Accounting Studies, 7, 2/3, June/September 2002: 289-312.)

   KPMG Peat Marwick Faculty Fellow 1993-1996.
   KPMG Peat Marwick Research Fellow 1991-1993.
   Deloitte Haskins & Sells Foundation Doctoral Fellow 1986-88.
   University of Rochester Sproull Fellow 1985-1987.

Main Publications

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       1989: 61-78.

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                                                                         APPENDIX A


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       Competition.

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       Accounting Research, 40, 4, September 2002: 1091-1123.

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                                                                                       Page 3
     Case 2:17-cv-05114-MMB Document 133-6 Filed 08/17/20 Page 49 of 69
                                                                            APPENDIX A


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“Are Dividends Disappearing? Dividend Concentration and the Consolidation of Earnings.”
      With Harry DeAngelo and Linda DeAngelo. Journal of Financial Economics, 72, 3, June
      2004: 425-456. This paper won the Jensen Prize for the best paper in corporate finance
      and organizations published in the Journal of Financial Economics in 2004.

“Earnings Momentum and Earnings Management.” With James Myers and Linda Myers.
       Journal of Accounting, Auditing and Finance, 22, 2, Spring 2007: 249-284. This paper
       won the AAA Financial Reporting Section best paper prize in 2009.

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      Japanese Banking Crisis.” Journal of Accounting and Economics 46, 2-3, 2008: 218-239.
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      Trends in Finance 3, 2-3, 2008: 95-287.

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      Forecasts in Japan.”) With Kazuo Kato and Michio Kunimura. The Accounting Review
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       and Karthik Ramanna. (Previously titled: “What Should GAAP Look Like? A Survey
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      Case 2:17-cv-05114-MMB Document 133-6 Filed 08/17/20 Page 50 of 69
                                                                             APPENDIX A


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                                                                                               Page 5
     Case 2:17-cv-05114-MMB Document 133-6 Filed 08/17/20 Page 51 of 69
                                                                           APPENDIX A



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     Payments: What Can We Learn from the 2003 Dividend Tax Cut?”’ by Raj Chetty,
     Joseph Rosenberg, and Emmanuel Saez, in Alan J. Auerbach, James R. Hines, Jr., and
     Joel Slemrod, eds., Taxing Corporate Income in the 21st Century (Cambridge University
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       3, August 2008, 282-288.

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     Case 2:17-cv-05114-MMB Document 133-6 Filed 08/17/20 Page 52 of 69
                                                                            APPENDIX A


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      is-enriching-shareholders-at-the-expense-of-the-economy/

The Financial Accounting Standards Committee of the AAA is charged with responding to
requests by standards setters on issues related to financial reporting. As a member of that
Committee from 1999 until 2002 I contributed to comment letters to the Financial Accounting
Standards Board (FASB), the International Accounting Standards Committee (IASC), and the
U.S. Securities and Exchange Commission (SEC). Published versions of these comment letters
for which I served as principal author are as follows:
    • Response to the FASB Preliminary Views: Reporting Financial Instruments and Certain
       Related Assets and Liabilities at Fair Value. (with J. M. Wahlen, Chair, J. R. Boatsman,
       R. H. Herz, G. J. Jonas, K. G. Palepu, S. G. Ryan, K. Schipper, and C. M. Schrand).
       Accounting Horizons December 2000, Vol. 14, No. 4, pp. 501-508.
    • Implications of Accounting Research for the FASB’s Initiatives on Disclosure of
       Information about Intangible Assets. With L. A. Maines, Chair, E. Bartov, P. M.
       Fairfield, D. E. Hirst, T. E. Iannaconi, R. Mallett, C. M. Schrand, L. Vincent.
       Accounting Horizons June 2003, Vol. 17, No. 2, pp. 175-185.

Selected Media Coverage

“Dividends, Wall Street’s Battered Status Symbol,” The New York Times, February 13, 2016.

“As Stock Prices Slump, Don’t Count on Buybacks,” Wall Street Journal, January 25, 2016.

“Fast Traders Are Getting Data From SEC Seconds Early,” Wall Street Journal, October 29,
       2014.

“High-frequency traders said to get SEC filings early,” Financial Times, October 29, 2014.

“Certain Traders May Get Early Looks at S.E.C. Filings, Paper Finds,” The New York Times,
       October 29, 2014.

“Flush with Cash, Apple Plans Buyback and Dividend,” The New York Times, March 19, 2012.




                                                                                             Page 7
     Case 2:17-cv-05114-MMB Document 133-6 Filed 08/17/20 Page 53 of 69
                                                                         APPENDIX A


Professional Activities

Journal of Accounting Research: Senior Editor, 2006-present.

Accounting and Finance, Editorial Board, 2012-2016.

Asia-Pacific Journal of Accounting & Economics, Associate Editor, 1999-2005.

Journal of Accounting & Economics:
       Editor, 2000-2005.
       Associate Editor, 1994-2000.

The Accounting Review, Editorial Advisory and Review Board, 1992-1996; 1997-1999.

Review of Accounting Studies, Co-Editor, 1999-2000.

Ad hoc referee for numerous accounting and finance journals.

Member: American Accounting Association, American Finance Association.

American Accounting Association Committees:
      • Financial Accounting Standards Committee, 1999-2002.
      • AAA/FASB Annual Financial Reporting Issues Conference Organizing Committee,
         1999, 2000, 2005.
      • 2001-2002 Competitive Manuscript Prize Committee.

Ph.D. Committees (chronological order with initial placements)

At Michigan:
Arun Kumar (Finance)
Christine Botosan. Washington University, St Louis.
Li Li Eng. Singapore National University.
Karen Nelson. Stanford.
Lillian Mills. Arizona.
Brian Bushee. Harvard Business School.
Marlene Plumlee (Chair). Utah.
David Heike (Finance). Western Ontario.
Timothy Burch (Finance). Miami (FL).
Gregory Miller (Chair). Harvard Business School.
Mark Bradshaw. Harvard.
Anchada Charoenrook (Finance). Vanderbilt.
Darren Roulstone (Co-chair). Chicago.
Linda Myers (Chair). Washington (Seattle).
Irem Tuna (Chair). Wharton.
Scott Richardson. Wharton.
Fai Cang (Finance). Vanderbilt.



                                                                                    Page 8
      Case 2:17-cv-05114-MMB Document 133-6 Filed 08/17/20 Page 54 of 69
                                                              APPENDIX A


Jef Doyle. Utah.
Irene Kim (Chair). Duke.
Mei Feng (Chair). Pittsburgh.
Wei Tang (Chair). Georgetown.

At Chicago:
Regina Wittenberg Moerman. Wharton.
Yu Gao. Minnesota.
Eugene Soltes (Chair). Harvard Business School.
Ningzhong Li. London Business School.
Lawrence Takeuchi (finance).
Pepa Kraft. NYU.
Jeff Ng. Chinese University of Hong Kong.
Anna Costello. (Chair). MIT.
Alon Kalay. Columbia.
Jonathan Milian. (Chair). Florida International University.
Meng Li (Co-chair). UT-Dallas.
Joao Granja. MIT.
Christine Cuny. NYU.
Joshua Madsen (Chair). Minnesota.
Marina Niessner (finance). Yale.
Eric Floyd. Rice.
Nan Li (Chair). Toronto.
Gerardo Perez Cavazos (Chair). Harvard Business School.
Frank Zhou (Chair). Wharton.
Matthew Bloomfield. Wharton.
Brett Lombardi (Chair). Monash (Australia).
Oleg Kuriukhin. Cornerstone Research.
Anya Nakhmurina. Yale.
Johanna Shin. Analysis Group.




                                                                           Page 9
      Case 2:17-cv-05114-MMB Document 133-6 Filed 08/17/20 Page 55 of 69
                                                                                   APPENDIX B


Douglas J. Skinner, Expert Reports and Testimony.

Expert Report and deposition; Enron Creditors Recovery Corp., et al. v. Citigroup Inc., et al. in the
United States Bankruptcy Court, Southern District Of New York, Chapter 11 Case No. 01---16034
(AJG) (August 31, 2007).

Expert Report, deposition, and trial testimony; WFC Holdings Corporation v. United States of
America, in the United States District Court for the District of Minnesota, Civil Action No. 07- CV-
3320 (JRT/FLN) (2010).

Expert declaration; Pershing Square Capital Management L.P., Valeant Pharmaceuticals, Inc. et al. v.
Allergan, Inc. et al., in the Court of Chancery of the State of Delaware, C.A. No. 10057-CB. (2014).

Affidavit; United States of America v. Todd S. Farha, Thaddeus M.S. Bereday, Paul L. Behrens,
William L. Kale, and Peter E. Clay, United States District Court, Middle District of Florida, Tampa
Division, Case No. 8:11-cr-115-T-30MAP, 18 U.S.C. § 371, 18 U.S.C. § 1035, 18 U.S.C. § 1347, 18
U.S.C. § 1001, 18 U.S.C. § 982(a)(7) (2014).

Expert reports and cross examination testimony; Jacqueline Coffin and Sandra Lowry v. Atlantic
Power Corporation, Barry Welch and Terrence Ronan, in the Ontario Superior Court of Justice, Court
File No. CV-13-480939-00CP (2014 - 2015).

Expert reports and trial testimony; Exelon Corporation v. Commissioner of Internal Revenue, in the
United States Tax Court, Docket Nos. 29183-13 and 29184-13 (2015).

Expert reports and deposition; Baker Hughes Incorporated v. United States of America, United
States District Court, Southern District of Texas, Civil Action H-15-2675 (2017).

Expert report and deposition; SEC v. RPM International et al., United States District Court for
the District of Columbia, Civil Action No. 16-1803 (ABJ) (2018, 2019).

Expert report and deposition; SEB Investment Management AB, Individually and on behalf of
others similarly situated v. Endo International plc et al., United States District Court for the
Eastern District of Pennsylvania, Civil Action No. 2:17-CV-3711-TJS (2019).

Expert reports and trial testimony; Tribune Media Company, f.k.a. Tribune Company & Affiliates
v. Commissioner of Internal Revenue, in the United States Tax Court, Docket Nos. 20940-16 and
20941-16 (2019).

Expert report and deposition; SEB Investment Management AB, Individually and on behalf of
others similarly situated v. Symantec Corporation and Gregory S. Clark, United States District
Court Northern District of California, Case No.: 3:18-cv-02902-WHA (2020).

Expert report and deposition; In re Allergan plc Securities Litigation, United States District Court
for the Southern District of New York, Civil Action No. 18-cv-12089 (2020).


Last updated: 14 August 2020
              Case 2:17-cv-05114-MMB Document 133-6 Filed 08/17/20 Page 56 of 69
                                                                                                         APPENDIX C

                                            Documents Relied Upon
Pleadings and Legal Documents
       •   Alexandre Pelletier, Individually and On Behalf of All Others Similarly Situated v. Endo International plc et al., Amended
           Complaint filed August 6, 2018.
       •   Memorandum and Order, Alexandre Pelletier et al v. Endo International PLC et al., 2:17-cv-5114 -MMB (E.D. Pa., February
           14, 2020).
       •   Opinion, Comcast Corp., et al. v. Behrend, et al., March 27, 2013.

Depositions

       •   Deposition of Dr. Zachary Nye, July 27, 2020.

Expert Reports

       •   Expert Report and Exh bits of Dr. Zachary Nye dated June 26, 2020, including all Backup Materials in “Endo - Nye Production”

SEC Filings
       •   Abbot Laboratories, Form 10-K for FY 2016, filed on February 17, 2017.
       •   Allergan plc, Form 10-K for FY 2016, filed on February 24, 2017.
       •   Endo International plc, Form 10-K for FY 2014, filed on March 2, 2015.
       •   Endo International plc, Form 10-K for FY 2015, filed on February 29, 2016.
       •   Endo International plc, Form 10-K for FY 2016, filed on March 1, 2017.
       •   Endo International plc, Form 10-K for FY 2017, filed on February 27, 2018.
       •   Endo International plc, Form 10-Q for the Quarter Ended June 30, 2016, filed On August 9, 2016.
       •   Endo International plc, Form 10-Q for the Quarter Ended September 30, 2015, filed on November 9, 2015.
           Endo International plc, Form 10-Q for the Quarter Ended September 30, 2016, filed on November 8, 2016.
       •   Endo International plc, Form 10-Q for the Quarter Ended March 31, 2017, filed on May 9, 2017.
       •   Endo International plc, Form 8-K, filed on February 28, 2017.
       •   Endo International plc, Form Def 14A, Proxy Statement for the 2015 Annual General Meeting of Shareholders, filed April 29,
           2015.
       •   Endo International plc, Form Def 14A, Proxy Statement for the 2017 Annual General Meeting of Shareholders, filed April 28,
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       •   Horizon Pharma plc, Form 10-K for FY 2016, filed on February 27, 2017.
       •   Impax Laboratories, Inc., Form 10-K for FY 2016, filed on March 1, 2017.
       •   Jazz Pharmaceuticals plc, Form 10-K for FY 2016, filed on February 28, 2017.
       •   Mallinckrodt plc, Form 10-K for FY 2016, filed on November 29, 2016.
       •   Mylan N.V., Form 10-K for FY 2016, filed on March 1, 2017.
       •   Shire plc, Form 10-K For FY 2016, filed on February 22, 2017.
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       •   Johnson, T. and So, E. (2018), “Time Will Tell: Information in the Timing of Scheduled Earnings News,” Journal of Financial
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                                                                                                                             Page 1
             Case 2:17-cv-05114-MMB Document 133-6 Filed 08/17/20 Page 57 of 69
                                                                                                           APPENDIX C
Books
        •   Bodie, Z., Kane, A., and Marcus, A.J., Investments , 10th ed., McGraw-Hill/Irwin , 2014.
        •   Brealey, R.A., Myers, S.C., and Allen, F., Principles Corporate Finance , 9th ed., McGraw-Hill/Irwin, 2007.
        •   Campbell, J., Lo, A., and MacKinlay, A., The Econometrics of Financial Markets , Princeton University Press, 1997.
        •   Chatterjee, S. and Simonoff, J.S., Handbook of Regression Analysis , John Wiley & Sons, Inc., 2013.
        •   Damodaran, A., Damodaran on Valuation , 2nd ed., John Wiley and Sons, 2006.
        •   Dielman, T.E, Applied Regression Analysis , South-Western, 4th ed., 2005.
        •   Fama, E. and Miller, M.H., The Theory of Finance [by] Eugene F. Fama [and] Merton H. Miller , Hold, Rinehart and Winston,
            1972.
        •   Fama, E., Foundations of Finance , Basic Books, 1976.
        •   Kothari, S.P. and Warner, J.B., “Chapter 1: Econometrics of Event Studies,” in Handbook of Corporate Finance: Empirical
            Corporate Finance , 1st ed., Elsevier, 2007.
        •   White, G., Sondhi, A., and Fried, D., The Analysis and Use of Financial Statements , 3rd ed., John Wiley & Sons, 2003.

Analyst Reports
        •   "Lowering projections; awaiting 2H re-basing,” Morgan Stanley , March 9, 2017.
        •   "Media Reports Suggest Generic Drug Manufacturers Could Face Collusion Charges," Morningstar Equity Research ,
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        •   "More Pricing Headwinds: DOJ Probe A Likely Overhang For Several Qtrs," Leerink , November 3, 2016.
        •   “2017 a transition year,” Deutsche Bank , March 2, 2017.
        •   “2017 guidance below expectations, awating clarity on ’17 exit run rate,” Morgan Stanley , February 28, 2017.
        •   “2017 Reset Underway Post 4Q:16 Beat,” Mizuho , February 28, 2017.
        •   “2Q Beats Lowered Expectations, 3Q Guided Down,” BMO Equity Research , August 9, 2016.
        •   “4Q Wrap-Up: Modest Sales Beat, But Lowering Ests on Pessimistic ’17 Guide,” Leerink , February 28, 2017.
        •   “4Q16 Earnings First Impressions,” Barclays , February 28, 2017.
        •   “A Tale of Two Generics Businesses; More Divestitures Needed; Staying Neutral,” Piper Jaffray , February 28, 2017.
        •   “Base pressures,” Barclays , March 1, 2017.
        •   “DOJ Price-Fixing Case A Major Overhang but Declines Overdone vs. Precedents,” Susquehanna Financial Group ,
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        •   “Endo International Plc (ENDP): First take: 4Q ahead but 2017 guidance mixed - weak revenue helped by stronger GM; cash
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        •   “Endo International PLC: Base Pressures," Barclays , March 1, 2017.
        •   “Endo International: Outlook Points To Ability To Sustain Business,” Susquehanna Financial Group , March 1, 2017.
        •   “ENDP – Gonna Stick Around for the Blaise of Glory in ‘18+,” Guggenheim , February 28, 2017.
        •   “Estimates Revised: Model update,” Canaccord Genuity , March 3, 2017.
        •   “Hitting the Reset Button for 2017 – Buy,” Gabelli & Co , March 1, 2017.
        •   “Initial thoughts on generics news,” Deutsche Bank , November 4, 2016.
        •   “J.P. Morgan Conference Takeaways - ALERT,” JPMorgan , January 9, 2017.
        •   “Lowering estimates and PT to $25,” Deutsche Bank , November 8, 2016.
        •   “Lowering Numbers to Reflect Cautious Guide as Generic Pressures Persist,” BMO Capital Markets , March 2, 2017
        •   “Lowering PT to $18,” Deutsche Bank , March 7, 2017.
        •   “Outlook brings multiple moving parts but key challenges remain,” Goldman Sachs , March 1, 2017.
        •   “Qtrly Beat with Mixed 2017 Update; Continue to See Long Road to Recovery - ALERT,” JPMorgan , February 28, 2017.
        •   “Quick Take on 4Q16 ENDP Results,” Stifel , February 28, 2017.
        •   “Quick Takeaways after the 4Q2016 Earnings Call,” Barclays , February 28, 2017.
        •   “Quick Takeaways after the Conference Presentation,” Barclays , January 10, 2017.
        •   “Raising PT to $17 from $15; Reiterate Buy,” Mizuho , March 3, 2017.
        •   “Reducing estimates on Gx pricing pressure,” Morgan Stanley , November 9, 2016.
        •   “Solid 4Q print and decent initial ’17 guide; lack of flex leaves us on the sideline,” Canaccord Genuity , February 28, 2017.
        •   “Solid Q, risk/reward favorable for 2017; reiterate Buy,” Bank of America Merrill Lynch , February 28, 2017.
        •   “Specialty Pharma / Generics: 4Q16 Wrap Up: Challenging Environment Persists; MYL, AKRX Remain Best Positioned,”
            JPMorgan , March 2, 2017.
        •   “Stocks Appear to Be Over-Reacting to DOJ Generic Price Collusion Investigation,” Morgan Stanley , November 3, 2016.
        •   “Streamlining Commences with Sale of Litha, Refocusing in 2017,” Stifel , February 28, 2017.
        •   “Strong Quarter, Sub-Par Guidance; Transparency Keeps Us Positive,” JMP , February 28, 2017.
        •   “Thesis Is Unchanged - Better Alternatives Exist,” Cowen and Co , February 28, 2017.
        •   “Thoughts on AKRX and ENDP following ephedrine news,” Deutsche Bank , January 30, 2017.
        •   “Thoughts Post 4Q-2017 Outlook Appears Conservative But Leverage Concerns Persist,” JPMorgan , March 1, 2017.


                                                                                                                              Page 2
              Case 2:17-cv-05114-MMB Document 133-6 Filed 08/17/20 Page 58 of 69
                                                                                                                   APPENDIX C
        •   “What a Tangled Mesh We Weave; 2017 Outlook “Good Enough” Given Share Price,” Raymond James , February 28, 2017.

Publicly Available Materials
        • “Endo Press Release, ENDP – Q1 2016 Endo International PLC Earnings Call,” Thomson Reuters STREETEVENTS , May 5,
            2016.
        •   “Endo Reports Fourth Quarter And Full Year 2015 Financial Results,” PRNewswire , February 29, 2016, 6:30 AM,
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            accessed on August 6, 2020.
        •   “Endo Reports Fourth-Quarter And Full-Year 2016 Financial Results,” PRNewswire , February 28, 2017,
            https://www.prnewswire.com/news-releases/endo-reports-fourth-quarter-and-full-year-2016-financial-results-300414600.html,
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        •   “Endo to Announce Fourth-Quarter and Full-Year 2016 Financial Results,” PRNewswire , February 13, 2017,
            https://www.prnewswire.com/news-releases/endo-to-announce-fourth-quarter-and-full-year-2016-financial-results-
            300406024.html, accessed on August 13, 2020.
        •   “Endo Reports Second Quarter 2016 Financial Results,” PRNewswire , August 8, 2016, https://www.prnewswire.com/news-
            releases/endo-reports-second-quarter-2016-financial-results-300310706.html, accessed on August 13, 2020.
        •   “Filing Detail,” SEC , https://www.sec.gov/Archives/edgar/data/1593034/000159303417000005/0001593034-17-000005-
            index.htm, (accessed on July 13, 2020).
        •   “Filing Detail,” SEC , https://www.sec.gov/Archives/edgar/data/1593034/000159303417000009/0001593034-17-000009-
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        •   “Form 10-K,” SEC , https://www.sec.gov/fast-answers/answers-form10khtm.html, accessed on August 5, 2020.
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        •   “NASDAQ Composite” NASDAQ , https://indexes.nasdaqomx.com/Index/Overview/COMP, accessed on July 31, 2020.
        •   “NASDAQ Total Returns,” NASDAQ , https://www.nasdaq.com/market-activity/total-returns, accessed on July 31, 2020.
        •   “S&P US Indices Methodology,” S&P Dow Jones Indices , May 2020,
            https://us.spindices.com/documents/methodologies/methodology-sp-us-indices.pdf, accessed on July 31, 2020.
        •   “Trading Hours for the Nasdaq Stock Markets,” NASDAQ , https://www/nasdaq.com/stock-market-trading-hours-for-nasdaq,
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        •   ASC 350-20-35, Financial Accounting Standards Board , https://asc.fasb.org/section&trid=2144453, accessed on August 13,
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        •   David McLaughlin and Caroline Chen, “U.S. Charges in Generic-Drug Probe to Be Filed by Year-End,” Bloomberg , November
            3, 2016.
        • Endo Press Release, "ENDP - Q3 2016 Endo International PLC Earnings Call", Thomson Reuters STREETEVENTS , Edited
            Transcript, November 8, 2016.
        • Endo Press Release, “ENDP - Q4 2016 Endo International PLC Earnings Call,” Thomson Reuters STREETEVENTS ,
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Data

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 In addition to the ones listed above, I relied upon all documents and sources listed in my report and exhibits.




                                                                                                                          Page 3
          Case 2:17-cv-05114-MMB Document 133-6 Filed 08/17/20 Page 59 of 69
                                                                                 APPENDIX D


                            ENDO’S DISCUSSIONS OF IMPAIRMENT CHARGES

Relevant excerpt from the February 28, 2017 earnings release and conference call

“The impairment charge was driven by a reduction in the expected future cash flows in the Generics
reporting unit primarily due to a change in pricing expectations partly driven by an expected
increased level of competition and increased buying power from the continued consolidation of the
generic business customer base. These charges are primarily due to industry and competitive
pressures in the sector, which resulted in a reduction of the Generics reporting unit’s fair value.”1

“The Company’s revised forecast reflects a change in [outlook], primarily for its generics reporting
unit, reflecting the quickly evolving new realities of the US generics external environment, as
characterized by increased buying power from the continued consolidation of its customer base,
increased levels of competition due to the new low cost competitors, and accelerated FDA ANDA
approvals, and a change in the value derived from estimated future pricing levels. All of these
factors, coupled with increases in the risk factor included in the discount rate used to calculate the
discounted cash flows, have driven a material decrease in the estimated fair value of our generics
reporting unit, and certain intangible assets. This change in the estimated implied fair value led to
the majority of the impairment charges recorded in the fourth quarter.”2



Relevant excerpt from the March 1, 2017 Form 10-K

“The impairments were a result of a combination of factors, including increased buying power from
the continued consolidation of the Company’s generic business customer base, a significant change
in the value derived from the level and frequency of anticipated pricing opportunities in the future
and increased levels of competition, particularly in the Company’s U.S. Generics reporting unit,
due to the entry of new low cost competitors and accelerated FDA ANDA approvals. Consequently,
the Company lowered its projected revenue growth rates and profitability levels as part of its fourth
quarter company-wide strategic forecasting process. These external dynamics were exacerbated by
an increase in the risk factor included in the discount rate used to calculate the U.S. Generics


1
    Endo Earnings Release, February 28, 2017.
2
    Endo Earnings Call, February 28, 2017, p. 6.




                                                                                                Page 1
          Case 2:17-cv-05114-MMB Document 133-6 Filed 08/17/20 Page 60 of 69
                                                                                 APPENDIX D


discounted cash flows from the date of the Company’s last interim test. The increase in the discount
rate was due to the implied control premium resulting from recent trading values of the Company’s
stock. On a combined basis, these factors reduced the resulting estimated fair value of the
Company’s reporting units.”3

“In order to assess the reasonableness of the calculated fair values of our reporting units, we also
compare the sum of the reporting units’ fair values to Endo’s market capitalization and calculate an
implied control premium (the excess sum of the reporting unit’s fair values over the market
capitalization) or an implied control discount (the excess sum of total invested capital over the sum
of the reporting unit’s fair values). The Company evaluates the implied control premium or
discount by comparing it to control premiums or discounts of recent comparable market
transactions, as applicable. If the control premium or discount is not reasonable in light of
comparable recent transactions, or recent movements in the Company’s share price, we reevaluate
the fair value estimates of the reporting units by adjusting discount rates and/or other assumptions.
This re-evaluation could correlate to different implied fair values for certain or all of the Company’s
reporting units.”4

“As a result of our annual goodwill test performed as of October 1st, 2016 […] The Generics
reporting unit represented $2,342.5 million of the total goodwill charge. A 50 basis point increase
in the assumed discount rate utilized or a 1% decrease in the annual growth rate would have
increased our Generics reporting unit goodwill impairment charge by approximately $440 million
and $400 million, respectively.”5




3
    Endo 2016 10-K, pp. F-40, F-41.
4
    Endo 2016 10-K, p. 56.
5
    Endo 2016 10-K, p. 56.




                                                                                                 Page 2
        Case 2:17-cv-05114-MMB Document 133-6 Filed 08/17/20 Page 61 of 69
                                                                                              APPENDIX E


                   ILLUSTRATIVE EXAMPLE FOR MATERIALIZATION OF RISK

1.       Consider an oil company that discloses the discovery of an oil field it believes may contain
1,000,000 barrels of oil.1 At the time of this disclosure—say on day 1 of the Class Period—the oil
company truthfully discloses that there is a 90% chance that the new oil field will yield 1,000,000
barrels of oil and a 10% chance that the oil field is dry and contains no oil. The oil price on this
date is $50/barrel. An efficient market would value the field at its expected value of $45 million
(90% x 1,000,000 barrels x $50/barrel + 10% x 0). Let’s further assume that at the end of the Class
Period, based on new information from its exploration and evaluation team, the company learns
that this field will yield no economically viable reserves, i.e., the 10% risk that the field was dry
materializes. The company now knows the field is worthless and discloses this fact to the market.
In an efficient market (and assuming the price of oil did not change over the class period), the equity
value will fall by $45 million (in total) to reflect the loss in value. Note that this occurs even though
there is no misrepresentation.

2.       Assume now that the company’s disclosure that there is 90% likelihood the oil field would
yield 1,000,000 barrels misrepresents the true risk as known to the company at that time, and that
the true likelihood of yielding 1,000,000 barrels was only 70% (so that there was a 30% chance of
no oil). Based on the company’s day 1 disclosure, the initial expected value remains at $45 million,
which would then also be the decline in value when it was later announced that there was no oil,
i.e., the reduction in value when the risk actually materialized would be the same whether or not
the company had truthfully disclosed the risk on day 1. However, on day 1, the company’s
misrepresentation of the risk has created price inflation. Had the company disclosed the true risk
associated with the oil field on that day (the counterfactual disclosure), the market would have
valued the discovery at an expected value of $35 million (70% x 1,000,000 barrels x $50/barrel +
30% x 0). Because the market instead valued the oil field at $45 million, the properly measured
inflation associated with the understated risk was $10 million on day 1 (the difference in expected
values due to the 20% difference in risk of no oil). Thus, using the full price decline of $45 million
at the time the risk materialized, as a simplistic back-casting approach would do, substantially



1
  To keep the example simple, I describe inflation on an aggregate, as opposed to per-share, basis, but the concepts
apply on a per-share basis as well.




                                                                                                                 Page 1
       Case 2:17-cv-05114-MMB Document 133-6 Filed 08/17/20 Page 62 of 69
                                                                                APPENDIX E


overstates inflation – yielding estimated inflation of $45 million versus the correctly measured $10
million.

3.     Assume that six months after the initial disclosure, on day 182 of the class period, nothing
further has been revealed (i.e., the risk was still understated by 20%, the difference between the
10% number known to the market and the true 30% number known to the company). By this time,
the price of oil had increased to $60/barrel (which is public information, known to the market). The
amount of inflation is now $12 million, the difference between the value of the discovery priced by
the market (which reflects the market’s assessment, which is now 90% x 1,000,000 barrels x
$60/barrel = $54 million) and the but-for value, assuming the truth was known to the market (70%
x 1,000,000 barrels x $60/barrel = $42 million). Thus, the amount of inflation changes from day 1
to day 182 due to factors that have nothing to do with the oil company or the truthfulness of its
disclosures. For this reason as well, what is now a $54 million decline in value when the company
announces that the oil field is dry (the risk materializes) does not and cannot provide a reliable
measure of the inflation at the end of the class period: correctly measured, inflation increased from
$10 million on day 1 to $12 million on day 182 due to the change in external circumstances.




                                                                                               Page 2
Case 2:17-cv-05114-MMB Document 133-6 Filed 08/17/20 Page 63 of 69
                            Case 2:17-cv-05114-MMB Document 133-6 Filed 08/17/20 Page 64 of 69
                                                                                                                                     EXHIBIT 2

                               Endo International plc
                                                                         [1]
          Analyst Report Commentary on Non-Allegation Related News Topics
                                  2/27/17 – 3/7/17
  Date        Contributor            Headline                                  Non-Allegation Related News Topics Commentary
2/28/17    Barclays          4Q16 Earnings First          “Although 4Q16 results were ahead of expectations, 2017 guidance came in below already
                             Impressions                  diminished expectations coming into the quarter. […] [Management] also stated that adjusted
                                                          EPS [guidance] is significantly impacted by a higher adjusted tax rate and an anticipated
                                                          increase in variable-rate interest expense; higher interest expense and tax represent
                                                          significant variances versus our model.”

                                                          “Additionally, we will look for an update on ENDP’s mesh liability could introduce upside or
                                                          downside volatility to shares since it could either alleviate or stress the company’s cash flows.”

2/28/17    Barclays          Quick Takeaways after    “Although 2017 guidance was below expectations, management clearly presented a plan to
                             the 4Q2016 Earnings Call continue to reshape their business […] Importantly, they indicated that CFO is expected to lag
                                                      EBITDA growth […]”

                                                          “Management indicated that the savings from their strategic review will be mostly allocated to
                                                          paying down debt and the promotion of Xiaflex. Management also indicated that they expect
                                                          to allocate nearly $1B to pay for mesh liability claims in 2017. Management provided little
                                                          color on this but did say that the number of claims increased from 800 to 9700.”

2/28/17    Canaccord         Solid 4Q print and decent    “Relatively clean print and guide, but tax is an important nuance to consider. Endo’s 2017
           Genuity           initial ’17 guide; lack of   guidance considers an adjusted effective tax rate of 13-14% while the Street has generally
                             flex leaves us on the        modeled a low-single-digit cash tax rate in their P&Ls. We estimates (sic) this difference
                             sideline                     represents around 45c to 2017 guidance, effectively bringing guidance to just under Street
                                                          estimates, evidenced by an EBITDA guide of $1.50 bn to $1.58 bn, just under consensus
                                                          EBITDA of $1.585 bn. Given Endo’s leverage and investor focus on deleverage, we believe
                                                          EBITDA is the best metric to evaluate the company’s periodic performance going forward.”

                                                          “Today, Endo’s management stressed several times that the company’s transformation and
                                                          emergence out from under mesh and debt burdens will take time but (understandably) would
                                                          not give concrete timelines on meeting leverage targets. We’re excited about the Endo story
                                                          evolving over time and believe that the right disciplined team is in place to address the
                                                          company’s needs.”



                                                                                                                                                 Page 2
                           Case 2:17-cv-05114-MMB Document 133-6 Filed 08/17/20 Page 65 of 69
                                                                                                                                     EXHIBIT 2

                               Endo International plc
                                                                         [1]
          Analyst Report Commentary on Non-Allegation Related News Topics
                                  2/27/17 – 3/7/17
  Date       Contributor             Headline                                Non-Allegation Related News Topics Commentary
2/28/17    Cowen and Co     Thesis Is Unchanged -       “[...] [T]his reduced operating level is simply not generating enough meaningful cash to make
                            Better Alternatives Exist   substantial debt retirement in the face of still significant mesh liability payments and potential
                                                        future accruals. With the amount of leverage that still remains, and although we believe the
                                                        debt holders are very safe, we believe the equity holders will continue to suffer in what
                                                        seemingly remains a value trap.”

2/28/17    Goldman Sachs    Endo International Plc      “The EPS guidance weakness ($3.45-3.75 vs GS/consensus of $4.31/$4.27) is driven by
                            (ENDP): First take: 4Q      higher interest expense ($470mn-$480mn vs our $433mn/$424mn) and effective tax rate (13-
                            ahead but 2017 guidance     14% vs GS/consensus of 9%/7%), while ENDP’s cash tax rate is expected to remain in the
                            mixed - weak revenue        low single digit percentage range.”
                            helped by stronger GM;
                            cash flow light             “Cash flow prior to debt payment of $200mn-$280mn is weaker than our $611mn estimate
                                                        and contemplates $975mn of mesh related consideration versus our $450mn estimate.”

2/28/17    JMP              Strong Quarter, Sub-Par     “A higher tax rate and interest expense will negatively affect 2017, in addition to continued
                            Guidance; Transparency      erosion of the pain and generic franchises.”
                            Keeps Us Positive
                                                        “The company generated only $81M in cash in 4Q16 with the help of minimal debt or mesh
                                                        payments. Current net debt/EBITDA of 4.6x is expected to remain the same, or possibly
                                                        increase in 2017, suggesting that very little debt will be retired in 2017. The company showed
                                                        minimal working capital on the balance sheet in 4Q16 and expects only $200-280M in cash
                                                        flow in 2017. Rising interest rates in the U.S. and a higher corporate tax rate will also pressure
                                                        earnings.”

2/28/17    JP Morgan        Qtrly Beat with Mixed    “Mixed 2017 guidance with revenue/EPS below but adj. EBITDA largely in line with
                            2017 Update; Continue to expectations.”
                            See Long Road to
                            Recovery - ALERT         “While we will listen for more color on the call regarding revenue drivers, a big portion of the
                                                     EPS miss is driven by higher interest expense (~$475mn guide vs. our current estimate of
                                                     ~$433mn due to an increase in variable-rate interest expense) and tax rate (13-14% vs. our
                                                     estimate of ~9%, although the cash tax rate remains in the low-single digits).”



                                                                                                                                                 Page 3
                             Case 2:17-cv-05114-MMB Document 133-6 Filed 08/17/20 Page 66 of 69
                                                                                                                                   EXHIBIT 2

                               Endo International plc
                                                                         [1]
          Analyst Report Commentary on Non-Allegation Related News Topics
                                  2/27/17 – 3/7/17
  Date         Contributor            Headline                               Non-Allegation Related News Topics Commentary
2/28/17    Mizuho             2017 Reset Underway        “Some unexpected negatives in the guidance include higher tax rate, higher interest expense,
                              Post 4Q:16 Beat            and higher OpEx, offset by better than expected gross margins.”

2/28/17    Raymond James      What a Tangled Mesh We     “[...] Unsettled mesh claims have climbed to nearly 10,000, a potential ~$600.0M additional
                              Weave; 2017 Outlook        liability based on historical settlement rates. While game plan remains to delever to 3.0x-4.0x,
                              “Good Enough” Given        remaining $1.0B mesh liability balance and potential for added claims could push realization
                              Share Price                of this target out to 2019.”

2/28/17    Stifel             Quick Take on 4Q16         “EPS [guidance] is also being impacted by higher interest costs and effective tax.”
                              ENDP Results

2/28/17    Stifel             Streamlining Commences “EPS was also impacted by higher interest costs and effective tax rate. ENDP also has
                              with Sale of Litha,    commenced divesting assets, with the sale of Litha for $100mn. While simplifying the
                              Refocusing in 2017     business, we do not expect this will give much flexibility in addressing its leverage position
                                                     (4.6x).”

2/28/17    Bank of America    Solid Q, risk/reward       “We view ENDP’s new outlook as achievable and believe positive stock price reaction is a
           Merrill Lynch      favorable for 2017;        sign that investors are relatively comfortable with ENDP’s ability to execute against the 2017
                              reiterate Buy              target […] [T]he majority of the delta vs our model […] was due to higher variable interest
                                                         expense and effective tax rate; ENDP’s 2017 adj. EBITDA outlook was largely in-line with
                                                         consensus.”

                                                         “We now model higher variable interest rate and are increasing our tax rate assumption for
                                                         2017.”
 3/1/17    Barclays           Base pressures             “Management announced the sale of Litha, their South African subsidiary, and signaled to
                                                         investors that they are also looking at options for Somar, their Mexican unit. The refocusing is
                                                         welcome but we doubt the proceeds will make a meaningful dent in ENDP’s debt load. Cash
                                                         flow will remain under pressure in ’17 at ~$250M & mesh liability won’t go away with
                                                         unresolved claim increasing from 8,000 to 9,700.”




                                                                                                                                               Page 4
                            Case 2:17-cv-05114-MMB Document 133-6 Filed 08/17/20 Page 67 of 69
                                                                                                                                     EXHIBIT 2

                              Endo International plc
                                                                        [1]
         Analyst Report Commentary on Non-Allegation Related News Topics
                                 2/27/17 – 3/7/17
Date         Contributor             Headline                                 Non-Allegation Related News Topics Commentary
3/1/17    Gabelli & Co       Hitting the Reset Button    “For 2017, the company anticipates $200-280M of cash flow after mesh settlement payments
                             for 2017 – Buy              that could be used for debt repayment.”

                                                         “We are resetting our estimates for Endo to reflect the company’s new operating structure and
                                                         guidance (including higher interest and tax rate).”

3/1/17    Goldman Sachs      Outlook brings multiple     “We cut estimates post the update (Exhibit 1) and maintain our Neutral rating as ENDP’s key
                             moving parts but key        challenges remain; deleveraging will take time given declining earnings and muted cash flow.
                             challenges remain           From here, we therefore focus on key swing factors for the model, including (1) mesh
                                                         liabilities, which remain a meaningful FCF headwind given $975 mn in 2017 considerations,
                                                         and an increase in unresolved claims to 9.7K from 8K, (2) final impact from ongoing
                                                         consortium negotiations, which, while included in guidance, do not actually complete until mid-
                                                         year, and (3) brand and generic pipeline with 20 new generic launches and Xiaflex Ph3 in
                                                         cellulite on deck for 2017.”

3/1/17    JP Morgan          Thoughts Post 4Q-2017       “Notably, we see a lack of visibility on the medium- to long-term outlook with limited ability to
                             Outlook Appears             delever in 2017 due to mesh payments and we estimate 2018 as another negative growth
                             Conservative But            year for the company.”
                             Leverage Concerns
                             Persist                     “We are updating our model following 4Q results and lowering 2017+ estimates on lower
                                                         sales, and higher interest expense and tax, offset by a stronger margin profile.”

3/1/17    Susquehanna        Endo International:         “Leverage remains at ~4.6x with limited room for debt repayment in 2017 given known mesh
          Financial Group    Outlook Points To Ability   payments ($690mln) and some additional legal, milestone, and other cash items. Looking
                             To Sustain Business         beyond 2017, we see deleveraging as a tailwind and asset sales could accelerate that a bit.
                                                         Additional mesh provisions are a risk (~9,700 potl. cases unprovisioned) but we assume these
                                                         can be resolved with less cost than earlier cases.”

                                                         “EPS [guidance] falls to $3.58 (around the midpoint) due to higher interest expense and
                                                         effective tax (although cash tax should be modest).”




                                                                                                                                                 Page 5
                                 Case 2:17-cv-05114-MMB Document 133-6 Filed 08/17/20 Page 68 of 69
                                                                                                                                                   EXHIBIT 2

                                Endo International plc
                                                                          [1]
           Analyst Report Commentary on Non-Allegation Related News Topics
                                   2/27/17 – 3/7/17
   Date          Contributor                 Headline                                    Non-Allegation Related News Topics Commentary
  3/2/17     BMO Capital           Lowering Numbers to       “Significant mesh payments will hold back cash flow and limit debt paydown (net leverage
             Markets               Reflect Cautious Guide as 4.6x and should still be in high 4s at YE).”
                                   Generic Pressures Persist

  3/2/17     Deutsche Bank         2017 a transition year         “[T]he company aspires to reduce net leverage to 3-4x (from 4.6x) but did not provide a
                                                                  timeframe given various uncertainties[.]”

                                                                  “ENDP did not increase its accrual for mesh liability, but did provide a higher estimate for
                                                                  potential cases not yet accrued for (~9.7k, up from ~8k).”

  3/2/17     JP Morgan             Specialty Pharma /    “[…] [T]here is a limited visibility in the company’s medium- to long-term outlook and an
                                   Generics: 4Q16 Wrap   inability to meaningfully delever in 2017 and into 2018 due to mesh payments and declining
                                   Up: Challenging       EBITDA.”
                                   Environment Persists;
                                   MYL, AKRX Remain Best
                                   Positioned



Source: Analyst Reports Received from Counsel; S&P Capital IQ; Thomson Reuters

Note:
[1] Includes commentary of analyst reports issued during the period from the trading day before 2/28/17 through five trading days after 2/28/17.




                                                                                                                                                         Page 6
                        Case 2:17-cv-05114-MMB Document 133-6 Filed 08/17/20 Page 69 of 69
                                                                                                                                            EXHIBIT 3

                                                  Endo International plc
                                                Selected Financial Metrics
                                                       2014 – 2017
                                                                     ($ in millions)

                                                          2014                         2015                     2016                      2017

Total Revenue                                            $2,877                    $3,269                     $4,010                     $3,469


Total Debt[1]                                            $4,358                    $8,580                     $8,273                     $8,276


Total Debt[1] / Market Value of Equity[2]                 0.39                         0.62                     2.25                       4.78


Total Debt[1] / Capitalization[3]                         0.28                         0.38                     0.69                       0.83


Total Debt[1] / Total Assets                              0.40                         0.44                     0.58                       0.71


Total Debt[1] / EBITDA                                    6.00                         11.25                   13.88                      11.10


Interest Coverage[4]                                       2.6                          1.7                      1.0                       1.3

 Source: Refinitiv; S&P Capital IQ; Endo Form 10-K for Fiscal Years 2014 – 2017

 Note:
 [1] Total Debt represents the book value of debt, calculated as the sum of current portion of long-term debt and long-term debt, less current portion,
 net, items on Endo’s consolidated balance sheet.
 [2] Market Value of Equity is calculated as Endo’s share price multiplied by its shares outstanding as of the end of the fiscal year.
 [3] Capitalization is calculated as the sum of Total Debt and Market Value of Equity.
 [4] Interest Coverage is calculated as operating income divided by interest expense, as reported by Capital IQ. Capital IQ calculates operating
 income by subtracting cost of goods sold, selling, general, and administrative expenses, research and development expenses, and other operating
 expenses from total revenue. Capital IQ’s calculation does not reflect one-time charges like acquisition-related and integration items, included in the
 operating income reported in Endo’s 10-K.




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